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           EXHIBIT 4
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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISON




ABC CORPORATION I et al,                     Case No. 1:20-cv-04806
              Plaintiff,
      v.
THE PARTNERSHIPS and
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE “A”,
                Defendants.




                  EXPERT DECLARATION OF LANCE RAKE
           HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
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INTRODUCTION


      I, Lance Rake, have been retained by counsel as an expert witness to provide
my opinion on the alleged infringement of Plaintiffs Hangzhou Chic Intelligent
Technology Co. and Unicorn Global Inc.’s (collectively “Hangzhou”) U.S. Patents
D737,723, D738,256, D784,195, and D785,112 (“the Patents-In-Suit”) by
Defendant Gyroor-US.
      I have set forth my academic and professional qualifications and relevant
experience in the Background and Qualifications section of this report, and have
attached a copy of my curriculum vitae as Exhibit 1, which contains further details
on my education, experience, publications, and other qualifications for rendering an
expert opinion here.
      In forming the opinions, I express in this report, I considered materials
provided by counsel, and the references discussed in this report. Further, I relied on
my own knowledge, training, and over 45 years of experience in designing,
developing, teaching, and consulting in the industrial design industry. I reserve the
right to update and revise my opinions and conclusions, for example, should any
additional data or information become available to me.
      I am compensated at my standard hourly rate of $300 per hour for the time I
spend on this matter. My compensation is not related in any way to the outcome of
this proceeding, and I have no other interest in this proceeding.

BACKGROUND AND QUALIFICATIONS


      I am an industrial designer and a design researcher and educator. I have a
Bachelor’s Degree in Industrial Design from the University of Kansas, received in
1974, and a Master’s Degree in Product Design from North Carolina State



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University, received in 1982. According to a 2004 brochure from the Industrial
Designer’s Society of America (IDSA):
       Industrial design is the profession that determines the form of a manufactured
product, shaping it to fit the people who use it and the industrial processes that
produce it…. Preparation for practicing Industrial Design requires a baccalaureate
degree in that field. Industrial design links knowledge about technology and the
visual arts with knowledge about people. In addition to a thorough understanding
of the physical sciences, engineering principles, ergonomics, aesthetics, and
industrial materials and processes, Industrial Designers should be well-grounded in
the social sciences, such as psychology, sociology and anthropology, and the
communication arts, such as photography, video, print and electronic media.

      I have worked as an industrial designer continuously for 46 years since
receiving my undergraduate degree in 1974. In 1980, I began my career as a full-
time faculty member at various universities. From 1980 to 1984, I was an Assistant
Professor of Industrial Design at Auburn University. From 1985 to 1986, I was the
Product Design Course Supervisor (Department Chair) at UNITEC Institute of
Technology in Auckland, New Zealand.
      I then returned to the United States and began teaching at the University of
Kansas in 1987 as an associate professor. I am presently a full professor with the
University of Kansas, and my formal title is Professor of Design, School of
Architecture & Design. Also while at the University of Kansas, I was the Founding
and Acting Director of the Center for Design Research from 1991-2005. My
responsibilities at the University of Kansas require me to direct 40% of my time to
creative activity and research.
      For 16 years, from 2000-2016, I served as a design consultant to Infusion
Design. My creative activity there centered on collaborative design work in the
transportation and consumer products industries. As a practicing professional, I
have designed commercial and consumer products, transportation interiors,
packaging, and exhibits for over 80 different clients. I have been retained to create


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designs for manufactured products that contain metal components, including
commercial electronics, consumer products, lawnmowers, and airplane and boat
interiors.
       As a design practitioner and educator, I have conducted and/or directed
research into the study of markets from a product design perspective, as well as
researching product usability. I have given presentations on design at several
institutions around the world. Topics include ergonomics, design education, design
practice, and contemporary issues in the practice of industrial design.
       I have 16 invited international presentations and lectures on various design
topics. My work has been supported by over 25 internal and external grants. In the
last five years over 30 design websites and blogs have profiled my work, and three
recent books feature my design work. Professionally, I have worked on hundreds of
designs for over 90 unique clients in the past 44 years. A list of my design-related
research, publications, speaking engagements, and professional clients can be found
in my attached curriculum vitae.
     My work has been featured in numerous articles and texts, including the text
“Think Wrong,” relating to design innovation and processes. The book features a
story about my design process, focusing on my philosophy of working with and
manipulating physical materials early in the design process to develop prototypes
early in the design process.
       I was the Founder & Acting Director of KU’s Center for Design Research,
from 1994-2006. The CDR was created to focus our graduate program in order to
realign research efforts in collaboration with regional and national industry partners.
I was solely responsible for the effort, establishing an effective design team, securing
funding and research projects from industry partners including Learjet, Bass Pro
Shops, and Hewlett-Packard.
       Since 2010 I gave designed a number of skateboards, longboards, stand-up


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paddleboards and bicycles as part of my research at the University of Kansas.
      In my role as a professor, I have taught an Industrial Design Studio course
nearly every semester since approximately 1980, which is a product-focused course.
As part of the Industrial Design Studio, I have supervised groups of students
developing a variety of different products.
      I have served as an expert witness since approximately the year 2000, and
have been retained as an expert witness in approximately thirty cases, including
cases involving design patents and/or trade dress claims. I received an IDSA
Continuing Education Certificate entitled “How to Serve as an Expert Witness in
Design Patent Litigation” in 2008. Many of the cases for which I have been retained
have involved issues relating to alleged design patent infringement.
      I am an inventor on 12 design and utility patent applications, including U.S.
Patent No 7,900,781 for “Storage System,” U.S. Patent No. 5,490,676 for “Playing
Cards with Gripping Surface,” U.S. Patent No. D600,928 for “Step Stool,” and U.S.
Patent No. 6,820,286 for “Protective Mask.”
      In Fall 2012, I was awarded a sabbatical to teach and conduct design research
at the Industrial Design Centre at the Indian Institute of Technology-Bombay in
Mumbai, India. I have been a facilitator and advisor to the Swedish Industrial
Design Foundation’s Sommardesignkontoret. In 2009, I was one of only two
American designers invited to participate in ICSID (International Congress of
Societies of Industrial Design) Interdesign Citymove, Gellivare, Sweden. In 2016 I
was a Visiting Professor in the Mechanical Engineering Department at Högskolan i
Halmstad (Halmstad University) in Halmstad, Sweden.
      In 2004, I was included in ID Magazine’s “Design 50.” The editors at ID chose
to profile the work of 50 US designers in their January/February 2004 Issue - one
from each state. I was honored as the designer chosen to represent Kansas. ID is the
largest and most prestigious journal in the US for our profession.


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      I am a 2015-16 Fulbright Senior Scholar.
      I am also a 2019-2020 Global Fulbright Scholar.
      I was one of “133 Distinguished Industrial Design Professionals and
Professors” to sign the Amicus Brief supporting Apple in its case against Samsung
before the Supreme Court. Other signatories included Dieter Rams, Norman Foster,
Robert Brunner, Alexander Wang, Paula Scher, Jasper Morrison.
      I have offered testimony or prepared expert opinions in at least 25 matters in
the past five years. A complete listing of cases in which I have offered testimony or
prepared expert opinions is attached as Exhibit 2 to this report.
      Based on these and other experiences, I believe that I am qualified to give
opinions as an industrial designer skilled in the art with respect to the designs at issue
here. Due to my work with other industrial designers over the course of my career, I
also believe I am qualified to give an opinion about what would be understood by
one skilled in the art of ceiling fans like those at issue here.
      I also believe that I am qualified to give opinions about how an ordinary
observer or consumer would perceive the devices and designs in question. As a
professional working in the areas of industrial design, I have 46 years of experience
in industrial design. My job was to design mass-produced products to be attractive,
useful, and profitable. My ability to understand the product attributes that define a
successful visual impression with consumers is based on years of user research and
iterative design of hundreds of products, and continuous collaboration with
professionals in user experience, marketing, engineering, production, and service. I
review design resources daily to spot and respond to trends in design, architecture,
and technology.




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DESIGN PRINCIPLES APPLIED


      Some of the opinions in this report are based on a working understanding of
Gestalt principles as they apply to design. As a design educator for 40 years, I can
confidently say that that the principles of design as originally formulated and taught
at the Staatliche Bauhaus and based on Gestalt psychology have served as the
foundation of nearly every formal school of design education in the world. It is
unlikely that any practicing industrial, graphic, or interior designer would be
unfamiliar with Gestalt theory as it applies to design.
      Gestalt refers to principles of visual perception developed by German
psychologists in the 1920’s and still used to provide a foundation for design studies
in universities all over the world. These principles describe how we perceive the
world around us. Of all the principles, Figure-Ground is the most significant,
explaining how the eye differentiates an object from its surroundings. The Figure-
Ground principle tells us that in perceiving a visual field, some shapes or contours
take a prominent role (figure) while others recede into the background (ground).
      You can read this page because of the contrast between the black type and the
white page. We can see different letterforms because we “read” the differences in
contour or outline of the different characters. We tend to perceive some elements as
the figure, with a particular shape and contour, while other elements appear as the
ground, separate from and behind the main focus of the figure. This is usually
referred to as Figure/ Ground relationship.
      Gestalt principles provide background on how the ordinary observer will
perceive shape and form. Designers regularly rely upon these principals so they
know in advance how observers will respond to or perceive a design. Seminal texts
include Joseph Albers’s Interaction of Color, Johannes Itten’s The Elements of
Color, and Rudolf Arnheim’s Art and Visual Perception: A Psychology of the


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Creative Eye. These books have been largely superseded by more contemporary
texts, but the principles of Gestalt continue to provide the basis for most design
foundation programs.
        I specifically selected Gestalt Perception Theory as a scientific framework for
determining whether or not the design of the Accused Products is equivalent to that
of the Asserted Patents. Specifically, Gestalt principles are well-understood to be a
primary scientific theory on which design education and much of modern perception
science is based.           Gestalt theory and related methods for measuring design
equivalence is considered a primary research reference in the larger field of visual
perception. Recent peer-reviewed articles support this view 1.
        I have also selected Gestalt Perception Science and related methods because
Gestalt theory is widely taught at leading industrial design programs, fine art
programs, and computer vision programs. In fact, I regularly instruct students on
the use of Gestalt principles in many the industrial design classes that I teach at the
University of Kansas. Gestalt perception science is the most widely taught general
theory of shape perception as evidenced by its inclusion in many, if not all, leading
academic texts. It is my understanding that much of the latest neuroscience related
to visual perception verifies the basic structure and approach to Gestalt Perception
Science.


THE HANGZHOU CHIC DESIGN PATENTS


        The four Patents-In-Suit are the U.S. Patents D737,723 (“the ‘723 Patent”),
D738,256 (“the ‘256 Patent”), D784,195 (“the ‘195 Patent”), and D785,112 (“the
‘112 Patent”) for Self-Balancing Vehicles, and Human-Machine Interaction

1
 Wagemans, J., Elder, J., Kubovy, M., Palmer, S., Peterson, M., Singh, M., & Heydt, R. (2012). A Center of Gestalt
Psychology in Visual Perception: I. Perceptual Grouping and Figure-Ground Organization. Psychology Bulletin,
138(6).



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Vehicles. Self-balancing vehicles are often referred to as “hoverboards”.
       The ‘723 Patent is titled “Self-Balancing Vehicle” and has a filing date of Dec
15, 2014. It claims priority to a foreign application CN 201430180556.4 dated




                                                             the '723 Patent


6/13/2014. A copy of the ’723 patent is attached hereto as Exhibit 3. Broken lines
set forth the bounds of the claimed design and form no part thereof.
       The ‘256 Patent is titled “Self Balancing Vehicle” and has a filing date of Dec
15, 2014. A copy of the ’027 patent is attached hereto as Exhibit 4. Broken lines set
forth the bounds of the claimed design and form no part thereof. The ’256 Patent is
nearly identical to the ’723, the main difference being the shape of the graphic detail
at the center.




                                                              the '256 Patent




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      The ‘195 Patent is titled “Human-Machine Interaction Vehicle” and has a
filing date of Feb 29, 2016. It claims priority to a foreign application
201530389352.6 dated 10/9/2015. A copy of the ’195 patent is attached hereto as
Exhibit 5. Broken lines set forth the bounds of the claimed design and form no part




                                                                the '195 Patent




thereof.


      The ‘112 Patent is also titled “Human-Machine Interaction Vehicle” and has
a filing date of Feb 29, 2016. It claims priority to a foreign application CN
201530481979.4 dated 11/26/2015. Broken lines set forth the bounds of the claimed
design and form no part thereof. A copy of the ’112 patent is attached hereto as
Exhibit 6.




                                                             Figure 1the '112 Patent




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THE D808,857 DESIGN PATENT


      The D808,857 Patent (“the’857 Patent”) is titled “hoverboard” and has a filing
date of Jan 30, 2018– a highlighted copy is attached here as Exhibit 7. Broken lines
set forth the bounds of the claimed design and form no part thereof.




                                                            the '857 Patent




      The Accused Product is based on the ’857 Patent, which Defendant is
authorized to use.




                                                            the Accused Product




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LEGAL PRINCIPLES-DESIGN PATENTS


      I have also been informed that the test for determining infringement in design
patent cases is the “ordinary observer” test.
      The test requires a determination to be made as to whether, in the eye of an
ordinary observer, giving such attention as a purchaser usually gives and familiar
with the prior art, two designs are substantially the same in their overall appearance.
If the resemblance deceives the observer, inducing him or her to purchase one
supposing it to be the other, the designs are substantially the same.


THE ORDINARY OBSERVER


      In this case, it is my opinion that an ordinary observer would be a customer
purchasing products I am referring to as “hoverboards”. This purchaser will tend to
be quite savvy and well-informed. Purchases are often made online. I have
experience designing bicycles and skateboards sold online, and found that people
typically “do their homework” when buying products such as skateboards and, I
believe, hoverboards. Hoverboards range in price from $100 to $250 and up, so
customers research different brands and models online, and often read reviews
before making a purchase. In my opinion, the ordinary observer will be a well-
informed consumer who is aware of the overall market and the similarities and
differences of most of the major brands and models.
      The most prominent features impacting the overall visual impression to the
ordinary observer are the design of the two foot pads, the design of the wheels, visual
details on the “neck between the footpads, and the shape of the fenders that cover
the wheels, since the user most commonly sees a hoverboard from a position
standing over the board.


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SUMMARY OF OPINIONS


      I have evaluated the overall visual appearance of the Patents-in-Suit and the
design of the Accused Product from the perspective of an ordinary observer
familiar with the relevant prior art.
      It is plainly evident to me that the design of the Accused Product is based on
the ’857 Patent, which the Defendant is authorized to use, and not based on the
prior art or the design claims of the Patents-in-Suit.
      In my opinion, the visual differences between the claimed designs of the
Patents-in-Suit and the design of the Accused Product would be obvious to the
ordinary observer.


MARKMAN CLAIM CONSTRUCTION


      In my experience, verbal descriptions of a design are invariably too broad in
some respects or too narrow in other respects to fully capture an overall claimed
design. It is my understanding the law recognizes this too. I have been told that the
Egyptian Goddess case recognizes, (a) “design patents ‘typically are claimed as
shown in the drawings’”; (b) the trial court is not required to “attempt to provide a
detailed verbal description of the claimed design”; (c) “a design is better represented
by an illustration ‘than it could be by any description and a description would
probably not be intelligible without the illustration’"; (d) but that verbal
interpretation may be helpful “the claimed design as they relate to the [JM] accused
design and the prior art”, “the role of broken lines”, “representations…made in the
course of prosecution history”, and identifying any “purely functional” features.
While words are capable of generally listing individual features, they are simply
incapable of communicating the “overall look” of a design patent claim, especially


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where color is an element of the claim. If a list of elements or features is devised,
how can we determine a visual or perceptive hierarchy? Depending on the individual
observer, seeking to devise or deploy such a list, the eye may very well focus on and
amplify certain aspects of the design and ignore or diminish others as the eye moves
back and forth between the list and the illustration. There is a reason we use
photographs on our driver licenses and passports instead of a verbal description.


NON-INFRINGEMENT ANALYSIS OF THE PATENTS-IN-SUIT


      I understand that the ordinary observer, when comparing the design of the
Accused Product and the Patent-in-Suit, must do so with knowledge of the relevant
prior art. Where the differences between the claimed and accused design are viewed
in light of the prior art, the attention of the ordinary observer will be drawn to those
aspects of the claimed design that differ from the prior art. As explained below, it
is my opinion that the ordinary observer, familiar with the prior art, would find the
Accused Products’ overall appearance to be substantially different with respect to
the design claims of the Patents-in-Suit because the overall Gestalt of the Accused
Product differs in key areas from the body of prior art and the claims of the Patents-
in-Suit.
      To be sure, there are important visual features found in virtually all products
in this category- most products use similar technologies and functional constraints
of kinematics, ergonomics, performance and environmental considerations. For
instance, most hoverboards have two wheels (one on either end) that are 6.5”-10” in
diameter and spaced about 30” apart. There are two platforms to stand on, with a
narrow pivot in-between, which makes it easier to turn without interference with feet
or with the ground.




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      The Gestalt principles of visual perception teaches us that the eye is attracted
to areas of high contrast. The figure below illustrates some of the Gestalt principles




designers regularly incorporate in their work, and I have relied on in this analysis.
      Of all the principles, Figure-Ground is perhaps the most significant,
explaining how the eye differentiates an object from its surroundings. The Figure-
Ground principle tells us that in perceiving a visual field, some shapes or contours
take a prominent role (figure) while others recede into the background (ground).
      An example of Figure-Ground can be seen when we view the front perspective
view of the ’723 patent. Our eye is drawn to the footpad areas because the amount
of detail and the line density makes it the darkest area of the image. The detail and
density of this area contrasts with the plain surrounding body surfaces creating a
strong Figure-Ground gestalt.




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NON-INFRINGEMENT OF THE ’723 PATENT


      I have been informed that the test for infringement requires a side-by-side
comparison of the claims of the patent as represented in the figures (usually drawings
or photographs) with the Accused Devise (often in photographs). I believe that
including corresponding figures from the uncontested ’857 patent more clearly
shows the differences/similarities in the designs. Using well-established Gestalt
principles, I then compared the differences/similarities between the ’723 Patent and
the Accused Product through the eyes of “the hypothetical ordinary observer who is
conversant with the prior art,” as discussed in Egyptian Goddess.
      Through this process, I determined that the overall Gestalt of the Accused
Product fan is more similar to the design of the ’857 Patent that that of the ‘723
Patent. The design of the Accused Products differs significantly the design of the
’723 Patent in several key areas.




      There are several key design difference between the design claim of the ’723
Patent and the Accused Product that would be immediately recognized by the
ordinary observer. From the Top and Front views, the differences in the shape and


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design of the footpads is clear. Also, an ordinary observer familiar with the prior art
and other products in the marketplace would recognize that the ’723 claim has
prominent design element in the middle and the Accused Product is clean, without
any such design element.
      The front view we can see dramatic and obvious difference in the size, shape,
and character of the lights. In my opinion, this difference would not be unnoticed by
the ordinary observer.




      Although I consider the Top and Front views to be the most important in my
analysis, simply because these are the views most seen and understood by and
ordinary observer when comparing the products at the point of sale (online or in
brick-and-mortar retail environments), the bottom and back views also play a role in
an ordinary observer’s understanding the overall visual appearance of the designs.




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      A bottom view reveals substantial design differences. There is a prominent
central design detail at the center, two strong styling recess areas under the feet, and
vent hole patterns that are readily noticed because of the Figure-Ground gestalt, as
well as Closure, Similarity, and Proximity.
      Another important design feature that has a significant effect on the overall
visual impression of the ordinary observer is the size and shape of the fenders. Here
we can see a comparison of the fender design claimed in the ’723 Patent and the
fender design of the Accused Product. Even to the most casual observer, the
differences are significant and glaring.




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      The overall shape of the ‘723 Patent claim is, as I explained earlier, largely
based on functionality. The dimensions correspond to the dimensions of a human
foot, the distance between footpads corresponds to approximate “shoulder width”
dimensions of the user, the narrowing at the center facilitates the needed twisting
motion without interference with the user or the ground. Prior art listed on the face
of the patent includes articulating skateboard designs with the narrowing center and
broadening under the feet, as shown on the US 8,469,376 patent below.




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NON-INFRINGEMENT OF THE ‘256 PATENT


      There are several key design difference between the design claim of the ’256
Patent and the Accused Product that would be immediately recognized by the
ordinary observer. From the Top and Front views, the differences in the shape and
design of the footpads is clear. Also, an ordinary observer familiar with the prior art
and other products in the marketplace would recognize that the ’256 claim has
prominent design element in the middle and the Accused Product is clean, without
any such design element.




      The front view we can see dramatic and obvious difference in the size, shape,
and character of the lights. In my opinion, this difference would not be unnoticed by
the ordinary observer.




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      Although I consider the Top and Front views to be the most important in my
analysis, simply because these are the views most seen and understood by and
ordinary observer when comparing the products at the point of sale (online or in
brick-and-mortar retail environments), the bottom and back views also play a role in
an ordinary observer’s understanding the overall visual appearance of the designs.




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      The bottom view reveals substantial design differences. There is a prominent
central design detail at the center, two strong styling recess areas under the feet, and
vent hole patterns that are readily noticed because of the Figure-Ground gestalt, as
well as Closure, Similarity, and Proximity.
      Another important design feature that has a significant effect on the overall
visual impression of the ordinary observer is the size and shape of the fenders. Here
we can see a comparison of the fender design claimed in the ’256 Patent and the
fender design of the Accused Product. Even to the most casual observer, the
differences are significant and glaring.




      The overall shape of the ‘256 Patent claim is, as I explained earlier, largely
based on functionality. The dimensions correspond to the dimensions of a human
foot, the distance between footpads corresponds to approximate “shoulder width”
dimensions of the user, the narrowing at the center facilitates the needed twisting



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motion without interference with the user or the ground. Prior art listed on the face
of the patent includes articulating skateboard designs with the narrowing center and
broadening under the feet, as shown on the US 8,469,376 patent below.




NON-INFRINGEMENT OF THE ‘195 PATENT


      There are several key design difference between the design claim of the ’195
Patent and the Accused Product that would be immediately recognized by the
ordinary observer. From the Top and Front views, the differences in the shape and
design of the footpads is clear. Also, an ordinary observer familiar with the prior art




and other products in the marketplace would recognize that the ’195 claim has


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prominent design element in the middle and the Accused Product is clean, without
any such design element.
      The front view we can see dramatic and obvious difference in the size, shape,
and character of the lights. In my opinion, this difference would not be unnoticed by
the ordinary observer. The headlight design (which is mirrored on the back as well)
as depicted in the ’112 Patent is a very prominent design feature substantially
different from the light design of the Accused Product.




      Although I consider the Top and Front views to be the most important in my
analysis, simply because these are the views most seen and understood by and
ordinary observer when comparing the products at the point of sale (online or in
brick-and-mortar retail environments), the bottom and back views also play a role in
an ordinary observer’s understanding the overall visual appearance of the designs.
      The bottom view reveals substantial design differences. There is a prominent
central design detail at the center, two strong styling recess areas under the feet, and
vent hole patterns that are readily noticed because of the Figure-Ground gestalt, as
well as Closure, Similarity, and Proximity.




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      Another important design feature that has a significant effect on the overall
visual impression of the ordinary observer is the size and shape of the fenders. Here
we can see a comparison of the fender design claimed in the ’195 Patent and the
fender design of the Accused Product. Even to the most casual observer, the
differences are significant and glaring.




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      The overall shape of the ‘195 Patent claim is, as I explained earlier, largely
based on functionality. The dimensions correspond to the dimensions of a human
foot, the distance between footpads corresponds to approximate “shoulder width”
dimensions of the user, the narrowing at the center facilitates the needed twisting
motion without interference with the user or the ground. Prior art listed on the face
of the patent includes the ’723 and ’256 patents which are substantially the same, as
well as US D 739,906 and US 9,376,155.




NON-INFRINGEMENT OF THE ‘112 PATENT


      There are several key design difference between the design claim of the ’112
Patent and the Accused Product that would be immediately recognized by the
ordinary observer. From the Top and Front views, the differences in the shape and
design of the footpads is clear. Also, an ordinary observer familiar with the prior art
and other products in the marketplace would recognize that the ’112 claim has
prominent design element in the middle and the Accused Product is clean, without
any such design element.




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      The front view we can see dramatic and obvious difference in the size, shape,
and character of the lights. In my opinion, this difference would not be unnoticed by
the ordinary observer. The headlight design (which is mirrored on the back as well)
as depicted in the ’112 Patent is a very prominent design feature and in no way would
ever be confused with the light design of the Accused Product.




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      Although I consider the Top and Front views to be the most important in my
analysis, simply because these are the views most seen and understood by and
ordinary observer when comparing the products at the point of sale (online or in
brick-and-mortar retail environments), the bottom and back views also play a role in
an ordinary observer’s understanding the overall visual appearance of the designs.
      The bottom view reveals substantial design differences. There is a prominent
central design detail at the center, two strong styling recess areas under the feet, and
vent hole patterns that are readily noticed because of the Figure-Ground gestalt, as
well as Closure, Similarity, and Proximity.




      Another important design feature that has a significant effect on the overall
visual impression of the ordinary observer is the size and shape of the fenders. Here
we can see a comparison of the fender design claimed in the ’112 Patent and the
fender design of the Accused Product. Even to the most casual observer, the
differences are significant and glaring.




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Case:
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      The overall shape of the ‘112 Patent claim is, as I explained earlier, largely
based on functionality. The dimensions correspond to the dimensions of a human
foot, the distance between footpads corresponds to approximate “shoulder width”
dimensions of the user, the narrowing at the center facilitates the needed twisting
motion without interference with the user or the ground. Prior art listed on the face
of the patent includes the ’723 and ’256 patents which are substantially the same, as
well as US D 739,906 and US 9,376,155.




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CONCLUSION


       Based upon my experience as a designer and design educator, my application
of the Gestalt Principles of Visual Perception, my understanding of the legal
principles, my analysis of the Patents-in-Suit and the relevant prior art, my review
of the ’857 Patent, and my review of photographs of the Accused Product, it is my
opinion that an ordinary observer familiar with the prior art would not find the
Accused Products to be substantially similar to the claimed designs of the Patents-
in Suit.
       In my opinion, the visual differences between the claimed design of the ’723
Patent and the design of the Accused Product would be obvious to the ordinary
observer. Each element of the ornamental feature, viewed together, only enhances
the dissimilarity between the Accused Product and the ’723 Patent. The substantially
dissimilar foot pads, lighting design, the design of the undercarriage and the
dramatically different fender design creates a substantially different overall visual
impression to the ordinary observer.
       In my opinion, the visual differences between the claimed design of the ’256
Patent and the design of the Accused Product would be obvious to the ordinary
observer. Each element of the ornamental feature, viewed together, only enhances
the dissimilarity between the Accused Product and the ’256 Patent. The substantially
dissimilar foot pads, lighting design, the design of the undercarriage and the
dramatically different fender design creates a substantially different overall visual
impression to the ordinary observer.
       In my opinion, the visual differences between the claimed design of the ’195
Patent and the design of the Accused Product would be obvious to the ordinary
observer. Each element of the ornamental feature, viewed together, only enhances
the dissimilarity between the Accused Product and the ’195 Patent. The substantially


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dissimilar foot pad shape and placement, lighting design, the design of the
undercarriage and the dramatically different fender design creates a substantially
different overall visual impression to the ordinary observer.
      In my opinion, the visual differences between the claimed design of the ’112
Patent and the design of the Accused Product would be obvious to the ordinary
observer. Each element of the ornamental feature, viewed together, only enhances
the dissimilarity between the Accused Product and the ’112 Patent. The substantially
dissimilar foot pad shape and placement, lighting design, the design of the
undercarriage and the dramatically different fender design creates a substantially
different overall visual impression to the ordinary observer.


      I declare under penalty of perjury that the foregoing id true and correct.


      Dated: 21 August 2021
                                              Lance Rake
                                              Lawrence, Kansas




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                   EXHIBIT 1
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LANCE RAKE         PROFESSOR DESIGN                        LGRAKE@KU.EDU
                   785 424 3117                            LANCERAKE.COM



                   BIOGRAPHY
                   For nearly 50 years, I have been learning, practicing, and teaching industrial design, often at the
                   same time. Honored as a Fulbright Senior Scholar in 2015 and again in 2018, I am currently
                   Professor of Industrial Design at the University of Kansas. I have also taught full-time at Auburn
                   University and Carrington Technical Institute in Auckland, New Zealand. Additionally, I have
                   taught short courses at Konstfackskolan in Stockholm and been a visiting professor at Staffordshire
                   University in Stoke-on-Trent, England, Halmstad University in Sweden, the Royal Melbourne
                   Institute of Technology in Australia, Kathmandu University in Nepal, and the Indian Institute of
                   Technology-Bombay in Mumbai, India. My design research has been supported by private and
                   public grants, and findings presented at national and international design conferences and
                   institutions. For several years I have been using my experience as both teacher and practitioner of
                   design to serve as an expert witness in design patent infringement and product liability cases. I was
                   a signatory to the “133 Distinguished Industrial Design Professionals and Professors” Amicus Brief
                   supporting Apple in its case against Samsung before the Supreme Court.

                   Working alone or in collaboration with other professionals, I have designed numerous commercial
                   products, consumer products, aircraft and boat interiors, graphics, packaging, and exhibits. I was
                   chosen by the editors at ID Magazine chose as one of the “Design 50”.

                   Recently, my research efforts have been focused toward using design to create sustainable craft-
                   based enterprises in rural communities in the US, Africa, Nepal, and India.



                   EDUCATION
                   1982 Master of Product Design (renamed Master of Industrial Design), 1982
                   North Carolina State University, Raleigh, NC

                   1974 B.F.A. Industrial Design, 1974
                   University of Kansas, Lawrence, KS



                   LICENSURES, CERTIFICATIONS, AND PROFESSIONAL TRAINING

                   ICSID (International Congress of Societies of Industrial Design) City Move Interdesign workshop,
                   Malmberget, Sweden. One of 40 designers, planners, artists, doctors and students invited to
                   conceive of a new town and to develop a process for relocating cities that could be scaled and
                   exported. 2009

                   IDSA Continuing Education Certificate, “How to Serve as an Expert Witness in Design Patent
                   Litigation” Taught by Perry J. Saidman and Cooper C. Woodring, 2008



                   ACADEMIC APPOINTMENTS
                   University of Kansas, Lawrence, KS
                   Professor of Design, School of Architecture & Design, 2005 - Present
                   Associate Professor, School of Fine Arts, 1991 - 2005
                   Assistant Professor, School of Fine Arts, 1987 – 1990

                   The Royal Melbourne Institute of Technology, Melbourne, Australia
                   Visiting Professor, Industrial Design, 2019 – Present

                   Kathmandu University, Kathmandu, Nepal
                   Visiting Professor, Mechanical Engineering Department, 2019 – Present
Case:
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                   The Indian Institute of Technology-Bombay, Mumbai, India
                   Honorary Visiting Professor, Bamboo Studio, Industrial Design Center, 2016 – Present

                   Högskolan i Halmstad (Halmstad University)- Halmstad, Sweden
                   Visiting Professor, Industrial Design, 2016 - Present

                   The Indian Institute of Technology-Bombay, Mumbai, India
                   Visiting Professor, Bamboo Studio, Industrial Design Center, 2012

                   Carrington Technical Institute (subsequently renamed UNITEC Institute of Technology),
                   Auckland, New Zealand
                   Tutor & Course Supervisor, Product Design, 1985 – 1986

                   Auburn University, Auburn, AL
                   Assistant Professor, Industrial Design, 1980 - 1984


                   ADMINISTRATIVE ASSIGNMENTS
                   Founder & Acting Director, Center for Design Research, Department of Design, 1994-2005
                   Created the CDR to focus our graduate program to realign research efforts in collaboration with
                   regional and national industry partners. I was solely responsible for the effort, establishing an
                   effective design team, securing funding and research projects from industry partners including
                   Learjet and H-P.

                   Associate Chairperson, Department of Design, 1990-1991
                   Challenged to improve the Design Department’s interaction with industry and to initiate
                   cooperatives, collaboratives, and professional relationships.

                   UNITEC Institute of Technology, Auckland, New Zealand
                   Course Supervisor, Design, 1985 – 1986
                   Essentially the chairperson of Product Design, I was responsible for rewriting the curriculum and
                   reorganizing the area. Our graduating students were remarkably successful- starting their own
                   offices in New Zealand, but also working in major studios in the US, UK and Europe.


                   PROFESSIONAL EXPERIENCE
                   Infusion Design, Bonner Springs, KS
                   Consultant, 2000 - 2016

                   The New Deal Playing Card Company, Leawood, KS
                   Vice President Strategic Product Development, 1995 - 2005

                   Leon Paul, Ltd, London, England
                   Design Consultant (sabbatical leave), 2001

                   Hans Skillius Design, Halmstad, Sweden
                   Design Consultant (sabbatical leave), 1993

                   Interface Design Group, Milwaukee, WI
                   Manager, Industrial Design, 1979 - 1980

                   Stan Johnson Design, Milwaukee, WI
                   Design Director, 1978 - 1979

                   Anacomp (div Bell & Howell Co.), Hartford, WI
                   Manager, Design Services, 1975 - 1978

                   Prism, Inc., Racine, WI
                   Industrial Designer, 1974 – 1975
Case:
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                                                                              #:16003



                   PUBLICATIONS- BOOKS
                   Bielenberg, J., Burn, M., & Galle, G. (n.d.). In E. E. Dickinson, Think Wrong. 127, 193-200.
                   ISBN: 9780692693322, 2016
                   This is a book about design innovation, and shares a story about my design process, and how I
                   developed one of my product design ideas.


                   E. Zijlstra (Ed.), Booming Bamboo. Materia (Netherlands).
                   Images of my design "Woven Bamboo Bicycle" appear in this compilation of contemporary
                   bamboo design.

                   Schütz, F. (in press). Innovative Bambus Materialien. arundoobiomaterials.
                   Images of my design "Woven Bamboo Bicycle" appear in this compilation of contemporary design
                   featuring bamboo use in composites.


                   PUBLICATIONS- CONFERENCE PROCEEDINGS
                   Rosen, B. G., Bergman, M., Skillius, H., Eriksson, L., & Rake, L. (2010). On Linking Customer
                   Requirements to Surfaces. In Proceedings of the 13th International Conference on Metrology and
                   Properties of Engineering Surfaces, National Physical Laboratory, London, UK.

                   Rake, L. (1990). Industrial Design: Learning to Live Without Modernism. In Proceedings of the
                   Industrial Designers of America Conference on Design Education, Pasadena, California.

                   Rake, L. (1989). Design is the Problem. In Proceedings of the School of Visual Arts’ third annual
                   National Conference on Liberal Arts and the Education of Artists, New York.

                   Rake, L. (1989). Taking Another Look at Design Education. In Proceedings of the Industrial
                   Designers of America Conference on Design Education, Minneapolis.


                   PUBLICATIONS- MULTIMEDIA
                   Rake, L. G. (1984). Sketching Techniques for Industrial Designers. Auburn University: Learning
                   Resource Center.


                   PUBLICATIONS REFERENCING MY RESEARCH/CREATIVE WORK
                   MAGAZINES & VIDEO
                   Dickinson, Elizabeth E. "The Pit That Swallowed a City" Architect. (October 2010)
                   Article written about the ICSID 2009 Interdesign workshop held in Malmberget, Sweden. I was
                   quoted several times about the role designers play when we consider how to move populations as
                   the result of natural or ecological events.

                   Saenz, Yvonne. "Beacon Alley Boards" Vimeo. video. (2014)
                   Reference to my design work in collaboration with HERObike, Greensboro, AL, from 2011 -
                   present

                   Selden, Ben. "Semester Bike" Vimeo. video. (2013)
                   Reference to my bicycle design work, and my efforts to leverage design to create social impact in
                   rural Alabama, HERObike, Greensboro, AL, from 2011 – present


                   WEBSITES/BLOGS
                   Walia, Nona “Bamboo-zled!” timesofindia (March 15, 2020)

                   Meisenzahl, Mary “This electric bike was designed in Nepal using local Bamboo to transport
                   tourists and packages- here’s how it works” Businessinsider, (June 22, 2020)

                   Redaksi “Becak ‘Lucu’ Kathmandu dari Bambu , majalahcsr (21 Februari, 2020)

                   Sexty, Jack “Introducing the Habre Eco Bike: a Nepalese e-cargo machine built from bamboo to
                   beat the climate crisis”, ebiketips (February 23, 2020)
Case:
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                   Jewell, Nicole “Bamboo electric bike is designed for Kathmandu locals and tourists”, inhabitat
                   (February 19, 2020)

                   Myers, Lynne “habre eco bike is made from local bamboo and is designed to ease pollution in
                   kathmandu”, designboom (February 12, 2020)

                   Hernandez, Daisy “This Designer Repurposed Wine Barrels to Create a One-of-a-Kind Ride”,
                   Bicycling (March 21, 2019).

                   Coxworth, Ben, The Classy Cooper Bicycle is made from Old Wine Barrels” New Atlas (March
                   18, 2019).

                   Pomranz, Mike. “This Designer Turned a Wine Barrel into a Bicycle”, Food and Wine (March 22,
                   2019.

                   King, Tierney, “Designing Bikes from Old Wine Barrels”. ECN (March 20, 2019.

                   "The HEROs of Greensboro, Alabama: How One Nonprofit Is Changing Bike Design and
                   Community Development" Design Good Design Good (http://designgood.com/bike-design/).
                   internet. (2017)
                   Reference to my work research developing designs of bicycles, skateboards, and paddleboards
                   made from bamboo or bamboo composites, in collaboration with HERO, a not-for-profit located in
                   rural Greensboro, AL.

                   Bauman, Kat. "Can Braided Bamboo Shift Bike Frame Design?" CORE77 Website CORE 77.
                   internet. (May 30, 2017)
                   Reference to my work research developing advanced designs of bicycles using woven bamboo
                   composite tubes. Describes the continued development of a craft-based enterprise, HERObike-a
                   result of a collaboration with HERO, a not-for-profit located in rural Greensboro, AL.

                   "A BAMBOO ROAD BIKE BORN FROM THE COLLABORATION BETWEEN LANCE
                   RAKE AND HEROBIKE" design diffusion designdiffusion.com. internet. (May 4, 2017)
                   Reference to my work research developing advanced designs of bicycles using woven bamboo
                   composite tubes. Describes the continued development of a craft-based enterprise, HERObike-a
                   result of a collaboration with HERO, a not-for-profit located in rural Greensboro, AL.

                   Harper, Brad. "Bamboo Bikes Spur Economic Development in a Struggling Alabama County"
                   momentummag.com Momentum. internet. (May 2, 2017)
                   Reference to my work research developing designs of bicycles, skateboards, and paddleboards
                   made from bamboo or bamboo composites, in collaboration with HERO, a not-for-profit located in
                   rural Greensboro, AL.

                   "lance rake's HERObike is fitted with woven bamboo tubes" In L. Zeitoun (Ed.) designboom
                   designboom. internet. (May 2, 2017)
                   Reference to my work research developing advanced designs of bicycles using woven bamboo
                   composite tubes. Describes the continued development of a craft-based enterprise, HERObike-a
                   result of a collaboration with HERO, a not-for-profit located in rural Greensboro, AL.

                   Underwood, Allison. "Heroes of the Blackbelt" Good Grit...The Character of the South Good Grit
                   (goodgritmag.com). internet. (December 1, 2016)
                   Reference to my work research developing designs of bicycles, skateboards, and paddleboards
                   made from bamboo or bamboo composites.

                   Turner, Troy. "A BOOST OF BAMBOO" Yanko Design Yanko Design. Internet. (May 2015)
                   This article describes the development of a woven bamboo/composite e-bike.

                   Boram, Brian. "Wanted for Hire: Bamboo Bicycle Builders in Hale County, Alabama" Arcade
                   Arcade (arcadenw.org). internet. (Fall 2014)
                   Market success of the Semester bike and Beacon Alley Skateboard created demand for skilled
                   craftspeople in the region.
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                   "A Skateboard To Bring Back Local Manufacturing In The South Is Made From . . . Bamboo?"
                   fastcoexist.com (Fast Company). internet. (2014)
                   Reference to my work as a result of designing Beacon Alley Skateboard HERObike, Greensboro,
                   AL, from 2013 - 2014

                   "A Skateboard To Bring Back Local Manufacturing In The South Is Made From . . . Bamboo?"
                   fastcoexist.com (Fast Company). internet. (2014)
                   Reference to my work as a result of designing Beacon Alley Skateboard HERObike, Greensboro,
                   AL, from 2013 - 2014

                   "Art Pics: Bamboo Skateboards" Fad: Cool Art & Stuff. internet. (2014)
                   Reference to my work as a result of designing Beacon Alley Skateboard HERObike, Greensboro,
                   AL, from 2013 - 2014

                   "Beacon Alley Skateboard: eco-friendly bamboo skateboard by makelab and HERObike"
                   wowozine (Wow Trend Magazine). internet. (2014)
                   Reference to my work as a result of designing Beacon Alley Skateboard HERObike, Greensboro,
                   AL, from 2013 – 2014

                   "Beacon Alley Skateboards" CORE 77. internet. (2014)
                   Reference to my work as a result of designing Beacon Alley Skateboard HERObike, Greensboro,
                   AL, from 2013 – 2014

                   "Beacon Alley Skateboards" Fancy. internet. (2014)
                   Reference to my work as a result of designing Beacon Alley Skateboard HERObike, Greensboro,
                   AL, from 2013 - 2014

                   "Beacon Alley Skateboards" theawesomer.com. internet. (2014)
                   Reference to my work as a result of designing Beacon Alley Skateboard HERObike, Greensboro,
                   AL, from 2013 - 2014

                   "Beacon Alley Skateboards Kickstarting in Alabama" Impact Design Hub. internet. (2014)
                   Reference to my work as a result of designing Beacon Alley Skateboard HERObike, Greensboro,
                   AL, from 2013 – 2014

                   "Beacon Alley Skateboards' Woven Bamboo Deck" geekalabama.com. internet. (2014)
                   Reference to my work as a result of designing Beacon Alley Skateboard HERObike, Greensboro,
                   AL, from 2013 - 2014

                   "Beacon Alley Skateboards' Woven Bamboo Deck" Original Paperbacks. internet. (2014)
                   Reference to my work as a result of designing Beacon Alley Skateboard HERObike, Greensboro,
                   AL, from 2013 - 2014

                   "Makelab & HERObike – Beacon Alley Skateboards" hellocoton.fr. internet. (2014)
                   Reference to my work as a result of designing Beacon Alley Skateboard HERObike, Greensboro,
                   AL, from 2013 - 2014

                   "Makelab & HERObike – Beacon Alley Skateboards" Whitezine.com. internet. (2014)
                   Reference to my work as a result of designing Beacon Alley Skateboard HERObike, Greensboro,
                   AL, from 2013 - 2014

                   "makelab + HERObike weave durable bamboo composite skateboards" designboom.com. internet.
                   (2014)
                   Reference to my work as a result of designing Beacon Alley Skateboard HERObike, Greensboro,
                   AL, from 2013 – 2014

                   Oldmixon, Rachelle. Aljazeera America. "A fixie made out of oversized grass" TECHKNOW blog.
                   (January/February 2014).
                   Television segment that featured the Semester bicycle and the process of making bamboo bikes in
                   rural Alabama.

                   "Woven Bamboo Composite Skateboards" compositestoday.com. internet. (2014)
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                   Reference to my work as a result of designing Beacon Alley Skateboard HERObike, Greensboro,
                   AL, from 2013 - 2014

                   "Woven Bamboo Skateboard Muscle" Common Marketplace. internet. (2014)
                   Reference to my work as a result of designing Beacon Alley Skateboard HERObike, Greensboro,
                   AL, from 2013 - 2014

                   Estes, Cary. "Elegantly Designed Bicycle Business" Business Alabama. internet. (September 2014)
                   Reference to the Semester Bike design and the development of a craft-based enterprise, HERObike-
                   a result of consulting with HERO, a not-for-profit located in rural Greensboro, AL.

                   "A Bamboo Bike Designed to Lift People from Poverty" Wired.com. internet. (2013)
                   Reference to the Semester Bike design and the development of HERObike-a result of consulting
                   with HERO, a not-for-profit located in rural Greensboro, AL. Details the positive social change that
                   can come from using design thinking to leverage local skills and resources.

                   "Semester Bicycles- Hextube bamboo composite frames made in the rural South" In J. Thomas
                   (Ed.) Bicycle Design.net. internet. (2013)
                   Reference to the Semester Bike design and the development of HERObike-a result of consulting
                   with HERO, a not-for-profit located in rural Greensboro, AL.

                   "Semester Bike designed to create jobs in Alabama" Fast Company. internet. (2013)
                   Reference to the Semester Bike design and the development of HERObike-a result of consulting
                   with HERO, a not-for-profit located in rural Greensboro, AL.

                   "The Semester Bicycle represents a new take on sustainable design, while supporting the local
                   community of Greensboro in Alabama, USA." Design Indaba. internet. (2013)
                   Reference to the Semester Bike design and the development of HERObike-a result of consulting
                   with HERO, a not-for-profit located in rural Greensboro, AL.

                   "The Semester Bicycle: An Environmentally and Socially Responsible Bike" ambikamelville.com.
                   internet. (2013)
                   Reference to the Semester Bike design and the development of a craft-based enterprise, HERObike-
                   a result of consulting with HERO, a not-for-profit located in rural Greensboro, AL.

                   "Semester Bike built to drive positive change". Design Boom. (August 2013)
                   Reference to the Semester Bike design and the development of HERObike-a result of consulting
                   with HERO, a not-for-profit located in rural Greensboro, AL.

                   "Semester Bike Project" CORE 77. (2013).
                   Reference to the Semester Bike design and the development of HERObike-a result of consulting
                   with HERO, a not-for-profit located in rural Greensboro, AL.


                   INVITED PRESENTATIONS/LECTURES- INTERNATIONAL
                   Rake, L. (2019, 23 August). Designs in Tall Grass. Presentation for Design Students at RMIT,
                   Melbourne, Australia.

                   Rake, L. (2016). Designing in Bamboo. Presentation at Halmstad University, Halmstad, Sweden.

                   Rake, L. (2016, 24 April). Design Hacks. Presentation before faculty and student body for The
                   Department of Architecture and Urban Planning, Institute of Engineering, Tribhuvan University,
                   Pulchowk Campus, Kathmandu, Nepal.

                   Rake, L. (2016). 7 Words You Should Never Use in Design School. Presentation before faculty and
                   undergraduate student body at The Industrial Design Center, Indian Institute of Technology,
                   Mumbai, India.

                   Rake, L. (2015, July 10). Symbiotic Relationship Between Design & Engineering. Med By SCE -
                   Shamoon College of Engineering, Department of Mechanical Engineering, Beer-Sheva, Israel.
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                   Rake, L. (2015, December 15). Learning to Make, Making to Learn. Konstfacksolan, Stockholm,
                   Sweden.

                   Rake, L. (2012, October). Think Wrong. Presentation before faculty and graduate student body at
                   The Industrial Design Center, Indian Institute of Technology, Mumbai, India.

                   Rake, L. (2012, September). Why Design Matters. Presentation before faculty and graduate student
                   body at Orchid International School, Nashik, India.

                   Rake, L. (2012, April). What Little I Have Learned. Presentation, before faculty and design student
                   body at Nelson Mandella Metropolitan University, Port Elizabeth, South Africa.

                   Rake, L. (2008). Unapologetically American. Presentation, SVID Designdagen conference at
                   Halmstad University, Halmstad, Sweden.

                   Rake, L. (2007). Industrial Design, Learning to Live Without Modernism. Paper, for
                   IndustrialDesign and Innovation Engineering graduate students and faculty at Halmstad University,
                   Halmstad, Sweden.

                   Rake, L. (2007). My Life Aboard the Titanic. Presentation, Konstfackskolan, the national art &
                   design school, Stockholm, Sweden.
                   Attended by Industrial Design faculty, undergraduate, and graduate students.

                   Rake, L. (2007). Towards Reality in Industrial Design. Presentation, Institute for Design, Umeå
                   University, Umeå, Sweden.
                   Attended by faculty and graduate students Industrial, Transportation, and Interaction Design.

                   Rake, L. (2005). The Future of Graduate Design Education. Presentation for “Designdagen”-
                   Swedish Design Day, SVID, Swedish Society of Industrial Design, Halmstad, Sweden.
                   2005 has been designated as “Design Year”.

                   Rake, L. (2004). Industrial Design Education and Practice in a Multidisciplinary and International
                   Context. Presentation for administrators, faculty, and students, Halmstad University, Halmstad,
                   Sweden.

                   Rake, L. (1986). Panelist, National Art and Design Education Symposium, Auckland, New
                   Zealand.

                   Rake, L. (1985). Experiential Learning in Industrial Design Education. Presentation, New Zealand
                   Society of Industrial Designers regional meeting, Auckland, New Zealand.


                   INVITED PRESENTATIONS/LECTURES- NATIONAL
                   Rake, L. G., Durkin, T.-G. G., & Gajewski, D. A. (2015, December 8). Navigating Functionality in
                   Design Patent Prosecution and Litigation. Strafford Publishing webinar.

                   Rake, L. (2003). Ergonomics: A Commonsense Approach for Industrial Designers. Presentation,
                   9th Annual National Ergonomics Conference and Exposition, Las Vegas.

                   Rake, L. (1994). The Beauty of Chaos; the Chaos of Beauty. Presentation, Symposium Design
                   Thinking- Expressive Solutions, Helsinki, Finland.

                   Rake, L. (1991). Toward Reality in Industrial Design. Presentation, Product Semantics and Visual
                   Semiotics in Design Conference, Helsinki, Finland.

                   Rake, L. (1990). Industrial Design: Learning to Live Without Modernism. Presentation, Industrial
                   Designers of America Conference on Design Education, Pasadena, CA.
                   Published in the proceedings.

                   Rake, L. (1989). Design is the Problem. Presentation, School of Visual Arts’ third annual National
                   Conference on Liberal Arts and the Education of Artists, New York.
                   Published in the proceedings.
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                   Rake, L. (1989). Taking Another Look at Design Education. Presentation, Industrial Designers of
                   America Conference on Design Education, Minneapolis.
                   Published in the proceedings.




                   GRANTS/AWARDS- EXTERNAL
                   Rake, L. Fulbright Global Scholar Award, Fulbright Senior Scholar Program. My research project,
                   “Reimagining the Future of Mobility with a Sustainable Bamboo Bicycle”, is a project that began
                   with a research and design phase in Melbourne, Australia and moves to a prototype and testing
                   phase in Kathmandu, Nepal. I am designing a bamboo cargo bike to improve the congestion and
                   pollution in urban Kathmandu and hopefully leads to new employment opportunities for rural
                   craftspeople in Nepal. (July 2019 – January, 2020)

                   Rake, L. Fulbright-Nehru Academic and Professional Excellence Award, Fulbright Senior Scholar
                   Program. My research project, “Using Design Thinking to Create Sustainable Craft-Based
                   Enterprise in India”, investigated strategies that explore how to use design thinking to take
                   traditional craft skills into the future, using innovative design and technology to improve the
                   income of rural craftspeople and help create transformational change. (January 2016 - June 2016)


                   Rake, L. Adventure Travel Luggage. Bass Pro Shop, Springfield, MO (2006).

                   Rake, L. Exploring Innovations in Fan Design. Hunter Fans, Memphis, TN (2006).

                   Rake, L. New Product Ideas for Family Camping Tents. Wenzel, St. Louis, MO (2005).

                   Rake, L. Portable Outdoor Exhibition Space. Big Dog Motorcycles, Wichita, KS (2003).

                   Rake, L. New Product Ideas for the Scrapbook Market. Cardinal Brands, St. Louis, MO (2002).

                   Rake, L. Back to School Product Design. Investigation, Analysis, and Design. Cardinal Brands, St.
                   Louis, MO (2001 - 2002).

                   Rake, L. New Product Opportunities in the Recreational Boat Industry. Investigation, Analysis,
                   and Design. Infusion Design, Bonner Springs, KS (2001 - 2002).

                   Rake, L. Recreational Vehicle Design for a New Market Segment. Investigation, Analysis, and
                   Design. MountainHigh Coachworks, Ontario, CA (1999 - 2000).

                   Rake, L., & Geil, D. M. Fencing Shoe Design. United States Olympic Committee (1998).
                   Consultant with Dr. Geil.

                   Rake, L. Design of a Closed System Bearing Oiler. Trico Manufacturing, Pewaukee, WI (1995 -
                   1998).

                   Johnson, J., Rake, L., Design of Motor Assist Standing Wheelchairs. Small Business Innovation
                   Research Program Grant. FENA DESIGN, St. Cloud, MN. (1995 - 1998).

                   Nagengast, D., & Rake, L. DIY In Field Refrigeration for Small Organic Farms North Central
                   Region Sustainable Agriculture Research and Education Program. U.S. Department of Agriculture
                   (1995).

                   Rake, L. Laptop Computer Design. Compaq Computers, Houston, TX (1994).

                   Rake, L. Interior Concepts, 31-A. Learjet, Wichita, KS (1994).

                   Rake, L. 3D Modeling Hardware & Software, Equipment Grant. Intergraph Corporation, USA, and
                   Intergraph Sverige, AB (1993).
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                   Rake, L. Using Traditional Materials and New Technologies in an Alternative Design Strategy.
                   SOR, Inc. Olathe, KS (1988).


                   GRANTS/AWARDS- INTERNAL
                   Gore, N. & Rake, L. “Electrifying the Dotte Mobile Grocer Demonstration Kitchen.” University
                   of Kansas General Research Fund (2019)

                   Herstowski, A. & Rake, L. Mapping Study Abroad to the Major, Faculty Support Grant Fund from
                   the Office of Study Abroad (2016). Connecting with Study Abroad partners in Finland, Sweden,
                   and Denmark.

                   Sabbatical leave in Mumbai, India. Conducted research at the Bamboo Studio, Industrial Design
                   Center, Indian Institute of Technology-Bombay. (2012)

                   Rake, L. A Pilot Project to Develop and Implement the Alodia Afrika Design Office. University of
                   Kansas (2011). Using Design Thinking to open new product and market possibilities for a woman’s
                   textile co-op in Hamburg, South Africa.

                   Rake, L. Driving Without Distraction: We Have an App for That ....., Transportation Research
                   Institute, The University of Kansas (2010).
                   Rake, L. Design of the Next Generation General Aviation Aircraft Interior. University of Kansas
                   (2004).

                   Sabbatical leave in Stratford-upon-Avon, England. Conducted research at the Leon Paul office in
                   London, England to design and test fencing equipment including weapons, scoring equipment, and
                   footwear. (2001)

                   Rake, L., & Ewing, D. M. Proposal Development for NASA’s University Earth System Science
                   (UnESS) Program. Mapping Greenland Ice. Research and Development Fund, the University of
                   Kansas (2000 - 2001).

                   Rake, L. Design of High- Performance Titanium Sabre using 3D Solid Modeling, Testing, and
                   Evaluation Technologies. University of Kansas (1999).

                   Sabbatical leave in Halmstad, Sweden. Professional design practice in the office of Hans Skillious,
                   Halmstad, Sweden. (1993)

                   Rake, L. The Electronic Mock-up as a Conceptual Tool for Industrial Designers. University of
                   Kansas (1993).

                   Rake, L. Product Development Using an Alternative Design Strategy. University of Kansas (1989).

                   Rake, L. G., & Taylor, D. J. B. The Efficacy of Training on the Development of Creative Thinking
                   Ability. Research Grant-In-Aid, Auburn University (1984).


                   SELECT DESIGN WORK IN WOOD & BAMBOO
                   Rake, L. Whiskey Barrel Stave Bicycle, (June, 2019)
                   After executives at Bufffalo Trace Distillery in Frankfort, KY saw images of the Wine Barrel Stave
                   Bicycle, they asked me to prototype a bicycle made from whiskey Barrel Staves. It is currently
                   being considered as a fleet bike for tours of their Canadian distillery.

                   Rake, L. Wine Barrel Stave Bicycle, (December, 2018- March, 2019)
                   Presented at the 2019 North American Handmade Bicycle Show. It is currently being considered as
                   a fleet bike for wine tours in Napa, California.

                   Rake, L. & Adhikary, N. Abari Bamboo Bike, (May 2016 – September, 2017).
                   Design and development of a new generation bamboo bicycle initially designed and prototyped at
                   the Abari architecture studio in Kathmandu, Nepal in April, 2016 as part of my Fulbright research.
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                   Rake, L. Mass Production Bamboo Bicycle for Bikeshare System, IIT-Bombay Campus, Mumbai,
                   India, (February 2016 – April, 2017). This bike was designed to be easily, quickly, and reliably
                   manufactured in large numbers. It was also designed to be easily repaired and adjusted in the field.

                   Rake, L. Sidekick, HERObike, Greensboro, AL. (September, 2015- February, 2016)
                   I designed the Sidekick Balance Bike for HERO, a not-for-profit located in Greensboro, AL, as a
                   way to create quality craft-based jobs. Most of my design work for HERO explores the use of
                   bamboo- a local resource in rural Alabama. The Sidekick is designed for easy fabrication in the
                   Greensboro workshop. The Sidekick was further developed and prototyped in India at the Industrial
                   Design Center at the Indian Institute of Technology-Bombay in Mumbai in spring, 2016 as part of
                   my Fulbright research.

                   Rake, L. Sidekick Senior, IIT-B, IDC, Mumbai, India (January, 2016- May, 2016)
                   I designed the Sidekick Senior at the Industrial Design Center at the Indian Institute of Technology-
                   Bombay in Mumbai in spring, 2016 as part of my Fulbright research. I leveraged the simplicity of
                   design of the Sidekick Balance bike to create a pedal-powered version with 20” wheels.

                   Rake, L. Inframe Storage System, IIT-B, IDC, Mumbai, India (January 2016- May, 2016) The
                   Inframe Storage System is a woven bamboo basket designed to ride inside the main triangle
                   structure of a commuter-style bicycle. It was designed at the Industrial Design Center at the Indian
                   Institute of Technology-Bombay in Mumbai in spring, 2016 to create job opportunities for rural
                   and urban bamboo artisans in India as part of my Fulbright research.

                   Rake, L. Whalebone Stand Up Paddleboard, HERObike, Greensboro, AL. (June 2014 - July 2015)
                   I designed the Whalebone Stand Up Paddleboard for HERO, a not-for-profit located in Greensboro,
                   AL, as a way to create quality craft-based jobs. The Whalebone is an innovative skin-on-frame
                   design that uses an inexpensive but strong structure made of bamboo, covered with inexpensive
                   sign vinyl. Whalebone was designed to be made in weekend workshops in the Greensboro
                   workshop.

                   Rake, L. Woven Tube Road Bike, HERObike, Greensboro, Alabama. (August 2012 - February
                   2013). I designed the Woven Tube Bike for HERO, a not-for-profit located in Greensboro,
                   Alabama, as a way to create quality craft-based jobs. Most of my design work for HERO explores
                   the use of bamboo- a local resource in rural Alabama. The Woven Tube bike is an innovative
                   bamboo/carbon fiber composite that is extremely lightweight. The Woven Tube Road Bike was
                   shown in the North American Handmade Bicycle Show in Louisville, KY in March 2014.

                   Rake, L. Bamboost, HERObike, Greensboro, Alabama. (August 2012 - February 2013). I designed
                   the Bamboost e-Bike for HERO, a not-for-profit located in Greensboro, Alabama, as a way to
                   create quality craft-based jobs. Bamboost is an innovative bamboo/carbon fiber composite bike that
                   utilized the same aviation-inspired sandwich composite technology developed for the Beacon Alley
                   Skateboards. It was shown in the North American Handmade Bicycle Show in Louisville, KY in
                   March 2015.

                   Rake, L. Beacon Alley Skateboards, HERObike, Greensboro, Alabama. (January 2013 - December
                   2014) I designed the Beacon Alley Skateboard for HERO, a not-for-profit located in Greensboro,
                   Alabama, as a way to create quality craft-based jobs. The skateboard is a bamboo composite design
                   that is a fusion of handcraft and aviation-inspired high tech sandwich composite materials and
                   techniques.

                   Rake, L. Flatpack Bicycle, HERObike, Greensboro, Alabama. (August 2012 - February 2013). I
                   designed the Flatpack Bike for HERO, a not-for-profit located in Greensboro, Alabama, as a way to
                   create quality craft-based jobs. Most of my design work for HERO explores the use of bamboo- a
                   local resource in rural Alabama. The Flatpack is a bamboo composite design that also uses waterjet
                   cut aluminum panels. The entire bicycle arrives in a small box and can be easily assembled with
                   minimal tools. The Flatpack was shown in the North American Handmade Bicycle Show in
                   Charlotte, NC in March 2014.

                   Rake, L. Semester Bicycles, HERObike, Greensboro, Alabama. (January 2012 - February 2014)
                   I designed the Semester Bike for HERO, a not-for-profit located in Greensboro, Alabama, as a way
                   to create quality craft-based jobs. Most of my design work for HERO explores the use of bamboo-
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                   a local resource in rural Alabama. The Semester is a bamboo composite design. The Flatpack was
                   shown in the North American Handmade Bicycle Show in Denver in February, 2013.


                   EXHIBITIONS- DESIGN
                   “Sustainable Revolution”- Architecture Biennale 2021, Zuecca Project Space, Venice,
                   Italy, September, 2021.

                   “Wine Barrel Stave Bike” introduced. North American Handmade Bicycle Show, Sacramento, CA,
                   March, 2019.

                   “Keep Moving: Shifting Gears!” Design Museum of Chicago. Two of my bamboo bikes featured
                   in this show. November 2018- March, 2019.
                   Dharavi bikeshare bicycle design introduced. North American Handmade Bicycle Show in
                   Hartford, CT. in March 2018.

                   Semester bicycle design featured in Engaged: Campus and Community Scholars Working Together
                   for the Public Good—an exhibit to recognize and celebrate community engagement and engaged
                   scholarship at the University of Kansas. 2017

                   Bamboost e-bike design introduced. North American Handmade Bicycle Show in Louisville, KY in
                   March 2015.

                   Woven Tube bicycle design introduced. North American Handmade Bicycle Show. Charlotte, NC
                   in March 2014.

                   Semester & Flatpack bicycle designs introduced. North American Handmade Bicycle Show in
                   Denver, CO in February 2013.


                   PERMANENT COLLECTIONS
                   Rake, L. New Deal Playing Cards, Stuart and Marilyn R. Kaplan Playing Card Collection, the most
                   comprehensive collection in the United States (1998) Designed in 1995.

                   Rake, L. New Deal Playing Cards, Deutches Spielkarten-Museum, permanent collection,
                   Leinfelden-Echterdingen, Germany (1998) Designed in 1995.


                   PATENTS
                   Rake, L., Patent. "Process for Making Braided Bamboo Laminated Composite Tubing US
                   Provisional Patent" (abandoned)

                   Rake, L., Patent. "Process for Making Structural Tubing with Bamboo and Reinforcing Fiber
                   Material US Provisional Patent" (abandoned)

                   Rake, L., Patent. "Power System", US Utility Patent US20090152944. (Approved: 2009).

                   Rake, L., Patent. "Extension for a Golf Club Shaft and Method of Installing the Same", US
                   20080081708. (Approved: 2008).

                   Rake, L., Patent. "Fishing Bobber", US Utility Patent Pending. (Approved: 2007).

                   Rake, L., Patent. "Footstool/Ladder", US Utility Patent Pending. (Approved: 2007).

                   Rake, L., Patent. "Temperature Gauge/ Barometer", US Design Patent D 538694. (application:
                   2005, Approved: 2006).

                   Rake, L., Paul, B., Patent. "Protective Fencing Mask", US 20030070202; US 20020157167; US
                   6,701,536 B2; US 6,820,286 B2. (Approved: 2003).

                   Rake, L., Patent. "Playing Cards with Gripping Surface", US 5,490,676. (Approved: 1998).
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                   Rake, L., Patent. "Guitar Case", D 265146. (Approved: 1982).



                   EXPERT WITNESS- DESIGN
                   Whitaker Chalk Swindle & Schwartz PLLC, Design Ecpert, Representing Delta T v. Dan’

                   Marchant & Gould, Design Expert (2021)
                   Liaigre v. California Furniture Collection

                   Lewis Roca Rothgerber Christie, LLP, Design Expert, Glendale, CA (2021).
                   Caravan Canopy v. WalMart

                   Fish & Richardson P.C., Design Expert, Austin, TX (2018-2019).
                   Representing Kingston v. PAVO

                   Sterne, Kessler, Goldstein & Fox, Expert Witness, Washington, DC (2018-2019).
                   Representing Juul in an ITC matter.

                   Morgan Lewis, Design Expert, Palo Alto, CA (2018-2019)
                   Representing Gavrieli v. Soto Massini

                   Ice Miller, LLP, Design Expert, Philadelphia, PA. (2018).
                   Representing Regalo International v. Summer Infant

                   Fish & Richardson P.C., Design Expert, Dallas, TX. (2018).
                   Representing Amazon v. Jumpsport, Inc,

                   Thompson Coburn, Design Expert, St. Louis, MO. (2017).
                   Representing Wesfield Outdoors v. Haingaertner and Walsh

                   Kirkland & Ellis, Design Expert, Chicago, IL (2018).
                   Representing The Chamberland Group v. Techtronic Industries

                   Lewis Roca Rothgerber Christie, LLP, Design Expert, Glendale, CA (2018).
                   Representing Blumenthal Distributing v. Herman Miller

                   Thompson Coburn, Design Expert, St. Louis, MO. (2017.
                   Representing Post v. General Mills

                   Perkins Coie, Design Expert, Seattle, WA (Sept 2016).
                   Representing Amazon v. Daimler AG

                   Woodard, Emhardt, Moriarity, McNett & Henry, LLP, Design Expert, Indianapolis,IN (Winter
                   2016 - Present). Representing Knauf Insulation before USPTO

                   Banner & Witcoff, Design Expert, Chicago and Portland, OR (Winter 2015).
                   Representing Nike v. Sketchers

                   Blakely Law Group, Design Expert, Manhattan Beach, CA (2016).
                   Representing Deckers/ Uggs Australia in a design patent dispute

                   Sterne, Kessler, Goldstein & Fox, Expert Witness Testimony, New York, NY (2015). Design
                   Expert for Reexamination of Apple iPhone Design Patents

                   Orrick, Herrington & Sutcliffe LLP, Design Expert, Menlo Park, CA (2016). Represented Belkin in
                   a patent infringement case versus Acrox

                   Alston & Bird, LLP, Expert Witness Testimony, Palo Alto, CA (2014). Expert witness for light
                   reflectors design patent case before the ITC
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                                                                              #:16013



                   Finnegan, Henderson, Farabow, Garrett & Dunner, LLP, Expert Witness Testimony, Washington
                   DC (2014). Design Declaration before the Appeal Board, USPTO (housewares)
                   Kelly IP, LLP, Expert Witness Testimony, Washington DC (2013 - 2014). Design Declaration
                   before the Appeal Board, USPTO (electronic cables)

                   Winston & Strawn, LLP, Expert Witness Testimony, Los Angeles, CA (2013 - 2014). Design
                   Analysis for utility patent infringement case (laptop and tablet accessories)

                   Finnegan, Henderson, Farabow, Garrett & Dunner, LLP, Expert Witness Testimony, Washington
                   DC (2013). Design Analysis for design patent infringement case (cameras).

                   Oblon, Spivak, McClelland, Maier & Neustadt, L.L.P., Expert Witness Testimony, Alexandria, VA
                   (2013). Design Analysis for design patent infringement case (bedroom slippers).

                   Amster Rothstein & Ebenstein LLP, Expert Witness Testimony, New York, NY (2012). Design
                   Analysis for design patent infringement case (bedroom slippers).

                   Miller Canfield, Expert Witness Testimony, Chicago, IL (2011 - 2012). Design Analysis, Report
                   for a design patent infringement case (bedroom slippers).

                   White & case, LLP., Expert Witness Testimony, New York, NY (2011 - 2012). Design Analysis,
                   Report, and Deposition Testimony for USB Drive design patent case before the ITC.

                   Baker Botts L.L.P., Expert Witness Testimony, Houston, TX (2010 - 2011). Design Analysis,
                   Report, for a design patent infringement case (juice bottle caps).

                   Polsinelli Shughart, P.C., Expert Witness Testimony, St. Louis, MO (2010 - 2011). Design
                   Analysis, Report, for a design patent infringement case (refrigerated floral cases).

                   Husch Blackwell Sanders LLP, Expert Witness Testimony, St. Louis, MO (2009). Color Analysis,
                   for a trade dress case.

                   Wooten, Honeywell, Kimbrough, Gibson, Doherty and Normand, P.A., Expert Witness Testimony,
                   Orlando, FL (2007 - 2009) Design Analysis, Testing, for a product liability case (consumer
                   seating).

                   Allen & Vellone, P.C., Expert Witness Testimony, Denver, CO (2008). Design Analysis, for a
                   design patent infringement case (footwear).

                   Allen, Dyer, Doppelt, Mibrath & Gilchrist, P.A., Expert Witness Testimony, Orlando, FL (2008).
                   Design Analysis, for a design patent infringement case (apparel).

                   Holbrook Law Office, Expert Witness Testimony, Orlando, FL (2000 - 2001). Design Analysis,
                   Testing, for a product liability case (contract seating).

                   Rausch Hendicks German May, Expert Witness Testimony, Kansas City, MO (1999 - 2000).
                   Defense expert for design patent infringement case.

                   Skepnek & Maddox, Expert Witness Testimony, Lawrence, KS (1998). Center for Design
                   Research, The University of Kansas. Created forensic computer animation for a medical
                   malpractice case.

                   Purdy & Flynn, Expert Witness Testimony, Fort Lauderdale, FL (1994 - 1996). Design
                   Investigation, Analysis, Modeling for a product liability case.

                   Holbrook & Hardy, Expert Witness Testimony, Orlando, FL (1992 - 1994). Design Investigation,
                   Analysis, Modeling for a product liability case.
Case:
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                   PROFESSIONAL DESIGN PROJECTS/CLIENT LIST
                   Over the past 30 years, I have worked as a professional designer; working in corporate design
                   studios, consulting offices, or as a freelance designer on a very broad range of projects. This
                   includes the design of motorcycles, air circulators, aircraft interiors, micrographic readers,
                   orthopedic traction systems, knives, space heaters, furniture, power tools, retail fixtures, electronic
                   controls, playing cards, games, work environments, cranes, lawn and garden tractor, trade show
                   exhibits, string trimmers, snowmobiles, VHS cassettes, medical products, audio amplifiers,
                   industrial electrical control housings, bags, back to school products, electrical substation
                   enclosures, excavator cabs, bird houses and feeders, fence posts, tool cabinets, boat interiors, motor
                   coach interiors, and plumbing fixtures.

                   Armani/ Embraer, São José dos Campos, São Paulo, Brazil
                   Aircraft Interior Design.

                   ADS, Huntsville, AL
                   Branding, Research and Design.

                   Adams Aircraft, Mojave, CA
                   Aircraft Interior Design.

                   Aerion, Dallas, TX
                   Supersonic Business Jet interior design

                   Aeroflex, Wichita, KS
                   Product Design

                   Aero Nimbus, Malaysia
                   Asian Airshow Exhibition Design.

                   Aladdin Industries, Nashville, TN
                   Camping Products.

                   Alberta Aerospace, Alberta, Canada
                   Design Proposal, Aircraft Interior Design.

                   Alfa-Laval, AB, Stockholm, Sweden
                   Agricultural Product Design.

                   Auburn University School of Pharmacy, Auburn, AL
                   Pharmacy Patient Consultation Booth.

                   Auckland University School of Medicine, Auckland, NZ
                   Asthma Inhaler.

                   Baker Electronics, Miami, FL
                   Aircraft IFE Switches.

                   Beauty Brands, Kansas City, MO
                   Interior/ Fixture Design.

                   Bell Helicopter, Dallas, TX
                   Helicopter Shuttle Interior

                   Bell & Howell, Lincolnwood, IL
                   Communications and Office Product Design.

                   Bergström, Halmstad, Sweden
                   Promotional Products Design.

                   Birkenstock, USA, Novato, CA
                   Store Fixture Design.
Case:
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                   Bolens, Port Washington, WI
                   Lawn Tractor Design, Product Graphics.

                   Bombardier, Montreal, Canada
                   Business Jet Interior Design.

                   Bose Research, Boston, MA
                   Store Fixture Design.

                   Brian Russell Designs, Auckland, NZ
                   Highchair Design.

                   Briggs & Stratton, Milwaukee, WI
                   Exhibit Design.

                   Bruning International, Itasca, IL
                   Office Product Design, Product Graphic Design.

                   Bucyrus-Erie, Milwaukee, WI
                   Heavy Equipment Design, Product Graphic Design.

                   Bushnell, Lenexa, KS
                   Night Vision Monocular Design.

                   Cardinal Brands, St. Louis, MO
                   Office Products, Softgoods Design

                   Caterpillar, Peoria, IL
                   Footwear Display System.

                   Chicagofest, Chicago, IL
                   Festival Graphic Design.

                   Collins Communications Technologies, Milwaukee, WI
                   Branding, Graphic Design.

                   Coleman, Wichita, KS
                   Product Design

                   Crabtree Music, Milwaukee, WI
                   Graphic Design.

                   Cramer, Inc, Kansas City, MO
                   Office Furniture Design.

                   Cubcrafters, Yakima, WA
                   Aircraft Interior Design.

                   Cutler-Hammer, Milwaukee, WI
                   Exhibit Design.

                   Drott Manufacturing, Wausau, WI
                   Heavy Equipment Design, Product Graphic Design.

                   Eagle Creek, San Diego, CA
                   Store Fixture Design.

                   Embraer, São Jose, Brazil
                   Aircraft Interior Design.

                   Fairchild-Dornier, Oberpfaffenhofen, Germany
                   Paint schemes, Product Graphic Design.
Case:
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                   Filer & Stowell, Milwaukee, WI
                   Heavy Equipment Design, Product Graphic Design.

                   Fischer & Paykel, Auckland, NZ
                   Control Design.

                   Företagsutrecklarna, Växjö, Sweden
                   Gas Candle Design.

                   Galaxy Aerospace, Dallas, TX
                   Aircraft Interior Design.

                   Gametime, Inc., Fort Payne, AL
                   Outdoor Furniture Design.

                   Global Express, Montreal, Canada
                   Regional Jet Interior Design.

                   Grahm Transmissions, Milwaukee, WI
                   Product Graphic Design.

                   Harley-Davidson, Milwaukee, WI
                   Motorcycle Design, Model Building.

                   Hawker/Beechcraft, Wichita, KS
                   Aircraft Interior Design.

                   Helio, Bristol, TN
                   Aircraft Interior Design Proposal

                   Hustler/ Excel, Hesston, KS
                   Commercial Lawnmower Design, Side-by-Side Vehicle Design

                   Huhtamaki, Desoto, KS
                   Commercial Product Design.
                   ICOR, AB, Stockholm, Sweden
                   Medical Product Design.

                   IKEA, Stockholm, Sweden
                   Clothes Hanger Design, Recycling Bin Design.

                   J.I. Case Company, Racine, WI
                   Heavy Equipment Design, Product Graphics.

                   Jockey International, Kenosha, WI
                   Exhibit Design, Store Fixture Design.

                   Kohler, Kohler, WI
                   Exhibit Design.

                   Larson/Glastron, Little Falls, MN
                   Leisure Boat Design.

                   Learjet div of Bombardier, Wichita, KS
                   Corporate Aviation Interior Design.

                   Leon Paul, London, England
                   Fencing Mask, Footwear, Scoring Box Design.

                   Marathon Electric, Wausau, WI
                   Store Fixture Design.
Case:
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                   Martin Industries, Florence, AL
                   Electric Space Heater Design.

                   Matthews Heater Co., Albertville, AL
                   Electric Space Heater Design.

                   Micro Design, Hartford, WI
                   Product Design, Corporate Identity, Strategic Planning.

                   Micron Corporation, Iron Ridge, WI
                   Product Design, Corporate Identity, Strategic Planning.

                   Minder Systems, Auckland, NZ
                   Electronic Control Design.

                   Nauter’s Swan, Pietarsaari, Finland
                   Yacht Design.

                   New Deal Playing Cards, Leawood, KS
                   Product Design, Corporate Identity, Strategic Planning.

                   Newell Motorcoach, Miami, OK
                   Motorcoach Design, Product Planning.

                   Pantone, New York, NY
                   Bag, CD Case, Softgoods, Notebook Design

                   Perceptive Software, Kansas City, KS
                   Trade Show Design.

                   Perm-a-Store, Wichita, KS
                   Product Design.

                   Polaris, Roseau, MN
                   Snowmobile Design, Product Graphic Design.
                   Poulan, Shriveport, LA
                   String Trimmer Design, Lawnmower Design.

                   Raaco, Copenhagen, Denmark
                   Plastic Toolbox Design.

                   Raetheon, Wichita, KS
                   Aircraft Interior Design.

                   Ranger Boats, Flippin, AR
                   Boat Design
                   Rayovac, Madison, WI
                   Product Design.

                   Rubbermaid, Huntersville, NC
                   Product Design.

                   Schroeder & Tremayne, St. Louis, MO
                   Product Design- Brushes, Cleaning Products

                   S.O.R. Inc., Olathe, KS
                   Pressure Switch Design, Workstation Design Planning.

                   Singapore Airlines, Singapore
                   Corporate Aircraft Interior Design.
Case:
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                   Snorkel, Kansas City, MO
                   Paintscheme, Product Graphic Design.

                   Spectrum, San Diego, CA
                   Aircraft Interior Design

                   Sutherland Engineering, Lawrence, KS
                   Audio Amplifier Design.

                   The North Face, Oakland, CA
                   Store Fixture Design.

                   Trek Bicycles, Baraboo, WI
                   Product Graphic Design.

                   Wal-Mart, Bentonville, AR
                   Point-of-Sale Design, Interior Design.

                   Walker Manufacturing, Racine, WI
                   Exhibit Design.

                   Weed Eater, Houston, TX
                   String Trimmer Design, Lawnmower Design.

                   Western Publishing, Racine, WI
                   Exhibit Design.

                   Xerolet, Carson, CA
                   Product Design.

                   Xikar, Kansas City, MO
                   Product Design, Strategic Product Design.


                   UNIVERSITY OF KANSAS- RECENT TEACHING
                   Spring 2021
                   INDD 378      Special Problems in Design, Footwear Design
                   INDD 302      Intermediate Industrial Design Studio
                   INDD212       Basic Industrial Design Drawing

                   Fall 2020
                   INDD 284           Basic Industrial Design Studio
                   INDD 312           Drawing for Industrial Design

                   Spring 2020
                   INDD 302           Intermediate Industrial Design Studio
                   INDD 378           Problems in Industrial Design:Footwear Design

                   Spring 2019
                   INDD 378           Special Problems in Design, Bicycle Design
                   INDD 302           Intermediate Industrial Design Studio

                   Winter, 2019
                   INDD 378           Problems in Industrial Design: East Palo Alto Multidisciplinary Workshop

                   Fall 2018
                   INDD 284           Basic Industrial Design Studio
                   INDD 378           Footwear Design

                   Spring 2018
                   ADS 531            Internship
                   ARCH600            Special Topics- Haiti
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                   ARCH600       Special Topics- Utility Bicycle Design
                   INDD 302      Intermediate Industrial Design Studio (2 sections)
                   INDD 378      Problems in Industrial Design: Electric Guitar Design & Theory

                   Fall 2017
                   ADS 531       Internship
                   INDD 284      Basic Industrial Design Studio (2 sections)
                   INDD 378      Problems in Industrial Design: Designing Footwear
                   INDD 715      Industrial Design- Graduate Studio

                   Spring 2017
                   ADS 560       Topics in Design: Push Bikes and Paddleboards (Alabama)
                   ADS 560       Topics in Design: Electric Guitar Design & Theory
                   ADS 580       Special Problems in Design
                   INDD 302      Intermediate Industrial Design Studio

                   Fall 2016
                   INDD 284      Basic Industrial Design Studio
                   INDD 378      Problems in Industrial Design: Photoshop ID Product Design
                   INDD 446      Advanced Industrial Design Studio
                   INDD 580      Senior Industrial Design Studio

                   Spring 2016
                   ADS 560       Topics in Design: Push Bikes and Paddleboards (Alabama)
                   INDD 378      Problems in Industrial Design: Push Bikes and Paddleboards

                   Fall 2015
                   INDD 284      Basic Industrial Design Studio
                   INDD 378      Problems in Industrial Design: Guitar Design and Theory
                   INDD 446      Advanced Industrial Design Studio

                   Spring 2015
                   INDD 302      Intermediate Industrial Design Studio
                   INDD 555      Portfolio

                   Fall 2014
                   ADS 560       Topics in Design: Drawing for Industrial Design II
                   INDD 284      Basic Industrial Design Studio
                   INDD 378      Problems in Industrial Design: Guitar Design and Theory
                   INDD 446      Advanced Industrial Design Studio

                   Summer 2014
                   ADS 560       Topics in Design: Bamboo, Alabama
                   INDD 378      Problems in Industrial Design: Bamboo, Alabama

                   Spring 2014
                   ADS 560       Topics in Design:
                   ADS 580       Special Problems in Design
                   INDD 302      Intermediate Industrial Design Studio
                   INDD 378      Problems in Industrial Design: Bamboo Skateboard Workshop
                   INDD 555      Portfolio

                   Fall 2013
                   ADS 560       Topics in Design: Basic Transportation Design
                   ADS 580       Special Problems in Design
                   INDD 378      Problems in Industrial Design: Basic Transportation Design
                   INDD 446      Advanced Industrial Design Studio
Case:
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                   SERVICE- UNIVERSITY
                   Member (Elected)
                   University of Kansas University Senate. (August 2016 - July 2019)

                   Member (Elected)
                   University of Kansas Faculty Senate. (August 2016 - July 2019)

                   Member (Appointed by KU Faculty Senate President) Ad Hoc Committee on Post-Tenure Review.
                   Reviewed Procedures for KU Post Tenure Review Process (Fall 2015 - Spring 2016)


                   SERVICE- SCHOOL OF ARCHITECTURE & DESIGN
                   Chair (Appointed)
                   School Council. The School Council advises the Dean on strategic and administrative issues and
                   serves as a sounding board for the Dean regarding any planned initiatives and University directives
                   that affect the School. (February 2021 - Present)

                   Member (Appointed)
                   Faculty Affairs Committee. (August 2020 - Present)
                   Common Shop. (Fall 2016 - Spring 2018)
                   Ad-Hoc Committee Post-Tenure Review. Analysis and review of KU post-tenure review
                   procedures. (Spring 2015)
                   Ad Hoc Maker Space. (Fall 2014 - Spring 2015)


                   SERVICE- DEPARTMENT OF DESIGN
                   Design Chair Review Committee. (August 2020 - June 2021)

                   Faculty Evaluation Committee. (August 2020 - June 2021)

                   Chair (Appointed) Industrial Design Search Committee. (Fall, 2017-Spring, 2018)

                   Representative (Appointed) Industrial Design Area Coordinator. (Fall 2017 - Spring 2019)

                   Member (Appointed) Promotion & Tenure. (Fall 2017 - Spring 2019)

                   Member (Appointed) Undergraduate Studies. (Fall 2016 - Spring 2019)

                   Member (Appointed) Departmental Bylaws. (Fall 2016 - Spring 2018)

                   SERVICE- PROFESSIONAL

                   Industrial Designers Society of America. Vice Chair of the Design Protection Section (2019 - 2021)

                   HONORS AND AWARDS FOR SCHOLARSHIP
                   Educator Award, Industrial Design Society of America (IDSA). (2019)
                   “The IDSA Education Award is presented in recognition of significant, distinguished, and long-
                   term contributions of career or tenured faculty to the field of industrial design academia. Further,
                   these individuals have earned the respect and admiration of colleagues and students for their
                   method and practice of teaching industrial design.Individuals are nominated by a peer or student for
                   this distinction and a nomination must be accompanied by letters of recommendation on behalf of
                   the candidate. All candidates who qualify are rigorously evaluated by IDSA's Awards Committee
                   and subsequently approved by IDSA's Board of Directors before being bestowed with this great
                   honor.” From the IDSA website

                   Fulbright Global Scholar Award. “Reimagining the Future of Mobility with a Sustainable Bamboo
                   Bicycle”. I will be working with colleagues in Melbourne Australia and Kathmandu Nepal to
                   design and prototype a bicycle for use by smallholder farmers in rural Nepal. (2019-2020)
Case:
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                   Fulbright-Nehru Academic and Professional Excellence Award, Fulbright Senior Scholar Program.
                   Professor Rake’s Fulbright research project, “Using Design Thinking to Create Sustainable Craft-
                   Based Enterprise in India”, will investigate strategies that explore how to use design thinking to
                   take traditional craft skills into the future, using innovative design and technology to improve the
                   income of rural craftspeople and help create transformational change. (January 2016 - June 2016)

                   Outstanding Teacher- Department of Design, University of Kansas Center for Teaching Excellence.
                   (2010)

                   ID Magazine “Design 50”. The editors at ID chose to profile the work of 50 US designers in their
                   January/February 2004 Issue- one from each state. I was honored as the designer chosen to
                   represent Kansas. (2004)
Case:
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                   EXHIBIT 2
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                                                                                     #:16023

Lance G. Rake

Patent cases in which I’ve written reports and given testimony at trial:

Date          Case Name                                  Case Number

2020          Pavo Solutions, LLC v.                     Central District of California
              Kingston Technology, Inc                   Case No. 8:14-cv-1352-JLS (KES)

2019          Gavrielli Brands, LLC v.                   District of Delaware
              Soto Massini Corp.                         Civil Action No.: 18-462-GMS)

Patent cases in which I’ve written reports and given deposition testimony:

Date          Case Name                                  Case Number

2021          Walmart Inc v.                             USPTO Patent Trial and Appeal Board
              Caravan Canopy International, Inc          Case IPR2020-01026

2021          Liagre, Inc v.                             Central District of California
              California Furniture Coll., Inc., et al.   Case No. 8:19-cv-01160 JAK-KES

2019          Herman Miller, Inc v.                      Central District of California
              Blumenthal Distributing, Inc., et al.      Case No. 2:17-cv-04279 JAK-SP

2016          Johns Manville Corp v.                     USPTO Patent Trial and Appeal Board
              Knauf Insulation, LLC                      Case IPR2015-01453

2015          Acrox Technologies Co. Ltd v.              Northern District of California
              Belkin International, Inc.                 Case No. 3:14-CV-04956 JD

2012          In the Matter of                           U.S. ITC
              CERTAIN UNIVERSAL SERIAL BUS               Investigation No. 337-TA-788
              (“USB”) PORTABLE STORAGE DEVICES,
              INCLUDING USB FLASH DRIVES AND
              COMPONENTS THEREOF

2011          Barker Company, Limited v.                 Southern District of Iowa
              Air Innovations, Inc.                      Case No. 3:09-cv-00016-JAJ-CFB

2009          Lumber Liquidators v.                      Eastern District of Virginia Stone
              Mountain Carpet                            Case No. 08 cv 00573

2008          Crocs v Australia Unlimited                District of Colorado
                                                         Civil Action No. 07-cv-221

Patent cases in which I’ve been retained and/or written expert reports:
2021          Delta T, LLC v.                            Middle District of Florida
              Dan’s Fan City, Inc.                       Case No. 8:19-cv-1731- T- 33SPF
       Case:
        Case:1:20-cv-04806
               1:20-cv-04806Document
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2019         Juul Labs, Inc.                        Juul Patent Litigation Matters

2019         The Chamberlain Group, Inc. v.         Northern District of Illinois, Eastern Division
             Techtronic Industries N.A., Inc.       Civil Action No. 16-CV-6113

2018          Amazon.com, Inc v.                    USPTO Patent Trial and Appeal Board
              Jumpsport, Inc                        Case IPR2018-00714

2018         Regalo International, LLC v.           District of Delaware
             Summer Infant, Inc.                    Case No. 1:17-cv-01074-GMS

2018         Haingaertner and Walsh v.              Western District of Arkansas
             Westfield Outdoors, Inc.               Case No. CV-17-5079

2017         In the Matter of:                      U.S. ITC
             CERTAIN PASSENGER                      Investigation No. 337-TA-1006
             VEHICLE AUTOMOTIVE
             WHEELS

2017         Post Consumer Brands v.                District of Minnesota
             General Mills, Inc.                    Civil Action No. 17-cv-04915

2017         Beats Electronics, LLC v.              Central District of California
              Steven Lamar                          Case No. 2:14-cv-7537

2017          Po-Hsun Lin v.                        Central District of California
              Belkin International, Inc.            Case No. 8:16-cv-00628-JLS-DFM

2016          Fatboy the Original B.V. v.           Northern District of Texas, Dallas Division
             EMRG, LLC                              Civil Action No. 3:16-cv-02520

2016          NIKE, Inc v.                          USPTO Patent Trial and Appeal Board
              Jezing Licensing, LLC                 Case IPR-

2016          NIKE, Inc v.                          District of Oregon, Portland Division
              Skechers USA, Inc                     Case No.

2016          Deckers Outdoor Corporation v.        Central District of California
              Romeo & Juliette, Inc.                Case No.: 2:15-cv-02812-ODW(CWx)

2014          Sensio Inc., v. Select Brands, Inc.   USPTO Patent Trial and Appeal Board
                                                    Case IPR2013-00580

2014          Design Declaration                    USPTO Patent Trial and Appeal Board
              Monster, Inc.

2014          In the Matter of:                     U.S. ITC
              CERTAIN TIRES AND PRODUCTS            Investigation No. 337-TA-894
              CONTAINING SAME
       Case:
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2014          Cyber Acoustics, LLC v.                   District of Oregon, Portland Division
              Belkin International, Inc                 Civil Case No.: 3:13-cv-001144 SI

2013          High Point Design LLC v.                  Southern District of New York
              Buyer’s Direct Inc                        Civil Action No. 11-CIV-4530-KBF

2013          Nikon Corporation and Nikon, Inc v.       Southern District of New York
              Sakar International, Inc                  Civil Action No. 13-CV-7228

2012          Buyer’s Direct, Inc v.                    Civil Action No. 5:10-cv-00065-H
              Belk, Inc.

2012          Knoll, Inc, v.                            Southern District of New York
              Moderno, Inc.                             Civil Action No. 11-CV-0488

2011          The Coca-Cola Company, v.                 Plaintiff Civil Action No. 4:10-cv-0418
              PepsiCo, Inc.,

2008          Capsmith, Inc v.                          Middle District of Florida
              James S. Wysopal                          Case No. 6:07-cv-01572-Orl-22KRS


Product liability cases in which I’ve consulted, written reports, and/or provided deposition testimony:

2015          Marlin Ward, v.                           District Court of Shawnee County
              St. Francis Health Center, Inc.           State of Kansas
                                                        Case No. 13 C 001316

2015          Cayce Kavnar and Krissa Cavnar, v.        District Court of Cleveland County
              The Saxon Group, Inc.                     State of Oklahoma

2015          Marlin Ward, v.                           District Court of Shawnee County
              St. Francis Health Center, Inc.           State of Kansas
                                                        Case No. 13 C 001316

2009          Jim Traweek v.                            9th Judicial Circuit
              Resin Partners, Inc                       Orange County, Florida
              US Leisure                                Case No. 08-CA-0002229-0

2000          Design Analysis Report                    Wooten, Honeywell, Kimbrough,
              Chromecraft Furniture                     Gibson, Doherty & Normand
              Advantage Series Guest Chair

1995          Scott Smith and Andrea Smith v.           7th Judicial Circuit
              Meubles Morigeau Ltd                      Broward County, Florida
                                                        Case No. 95-350 (Div. 27)
1994          Binnie M. Hicks v.                        Circuit Court in Orange County, Florida
              Ashley Furniture Industries               Case No. CI 92-4747
              Rent-A-Center
Case:
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                      Document#:#:629-4
                                   376 Filed:
                                        Filed: 08/23/21
                                               12/23/22 Page
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                                                             61 of
                                                                of 105
                                                                   106 PageID
                                                                       PageID #:8485
                                                                              #:16027
Case:
 Case:1:20-cv-04806
        1:20-cv-04806Document
                      Document#:#:629-4
                                   376 Filed:
                                        Filed: 08/23/21
                                               12/23/22 Page
                                                        Page 61
                                                             62 of
                                                                of 105
                                                                   106 PageID
                                                                       PageID #:8486
                                                                              #:16028
Case:
 Case:1:20-cv-04806
        1:20-cv-04806Document
                      Document#:#:629-4
                                   376 Filed:
                                        Filed: 08/23/21
                                               12/23/22 Page
                                                        Page 62
                                                             63 of
                                                                of 105
                                                                   106 PageID
                                                                       PageID #:8487
                                                                              #:16029
Case:
 Case:1:20-cv-04806
        1:20-cv-04806Document
                      Document#:#:629-4
                                   376 Filed:
                                        Filed: 08/23/21
                                               12/23/22 Page
                                                        Page 63
                                                             64 of
                                                                of 105
                                                                   106 PageID
                                                                       PageID #:8488
                                                                              #:16030
Case:
 Case:1:20-cv-04806
        1:20-cv-04806Document
                      Document#:#:629-4
                                   376 Filed:
                                        Filed: 08/23/21
                                               12/23/22 Page
                                                        Page 64
                                                             65 of
                                                                of 105
                                                                   106 PageID
                                                                       PageID #:8489
                                                                              #:16031
Case:
 Case:1:20-cv-04806
        1:20-cv-04806Document
                      Document#:#:629-4
                                   376 Filed:
                                        Filed: 08/23/21
                                               12/23/22 Page
                                                        Page 65
                                                             66 of
                                                                of 105
                                                                   106 PageID
                                                                       PageID #:8490
                                                                              #:16032
Case:
 Case:1:20-cv-04806
        1:20-cv-04806Document
                      Document#:#:629-4
                                   376 Filed:
                                        Filed: 08/23/21
                                               12/23/22 Page
                                                        Page 66
                                                             67 of
                                                                of 105
                                                                   106 PageID
                                                                       PageID #:8491
                                                                              #:16033
Case:
 Case:1:20-cv-04806
        1:20-cv-04806Document
                      Document#:#:629-4
                                   376 Filed:
                                        Filed: 08/23/21
                                               12/23/22 Page
                                                        Page 67
                                                             68 of
                                                                of 105
                                                                   106 PageID
                                                                       PageID #:8492
                                                                              #:16034
Case:
 Case:1:20-cv-04806
        1:20-cv-04806Document
                      Document#:#:629-4
                                   376 Filed:
                                        Filed: 08/23/21
                                               12/23/22 Page
                                                        Page 68
                                                             69 of
                                                                of 105
                                                                   106 PageID
                                                                       PageID #:8493
                                                                              #:16035
Case:
 Case:1:20-cv-04806
        1:20-cv-04806Document
                      Document#:#:629-4
                                   376 Filed:
                                        Filed: 08/23/21
                                               12/23/22 Page
                                                        Page 69
                                                             70 of
                                                                of 105
                                                                   106 PageID
                                                                       PageID #:8494
                                                                              #:16036




                   EXHIBIT 4
Case:
 Case:1:20-cv-04806
        1:20-cv-04806Document
                      Document#:#:629-4
                                   376 Filed:
                                        Filed: 08/23/21
                                               12/23/22 Page
                                                        Page 70
                                                             71 of
                                                                of 105
                                                                   106 PageID
                                                                       PageID #:8495
                                                                              #:16037
Case:
 Case:1:20-cv-04806
        1:20-cv-04806Document
                      Document#:#:629-4
                                   376 Filed:
                                        Filed: 08/23/21
                                               12/23/22 Page
                                                        Page 71
                                                             72 of
                                                                of 105
                                                                   106 PageID
                                                                       PageID #:8496
                                                                              #:16038
Case:
 Case:1:20-cv-04806
        1:20-cv-04806Document
                      Document#:#:629-4
                                   376 Filed:
                                        Filed: 08/23/21
                                               12/23/22 Page
                                                        Page 72
                                                             73 of
                                                                of 105
                                                                   106 PageID
                                                                       PageID #:8497
                                                                              #:16039
Case:
 Case:1:20-cv-04806
        1:20-cv-04806Document
                      Document#:#:629-4
                                   376 Filed:
                                        Filed: 08/23/21
                                               12/23/22 Page
                                                        Page 73
                                                             74 of
                                                                of 105
                                                                   106 PageID
                                                                       PageID #:8498
                                                                              #:16040
Case:
 Case:1:20-cv-04806
        1:20-cv-04806Document
                      Document#:#:629-4
                                   376 Filed:
                                        Filed: 08/23/21
                                               12/23/22 Page
                                                        Page 74
                                                             75 of
                                                                of 105
                                                                   106 PageID
                                                                       PageID #:8499
                                                                              #:16041
Case:
 Case:1:20-cv-04806
        1:20-cv-04806Document
                      Document#:#:629-4
                                   376 Filed:
                                        Filed: 08/23/21
                                               12/23/22 Page
                                                        Page 75
                                                             76 of
                                                                of 105
                                                                   106 PageID
                                                                       PageID #:8500
                                                                              #:16042
Case:
 Case:1:20-cv-04806
        1:20-cv-04806Document
                      Document#:#:629-4
                                   376 Filed:
                                        Filed: 08/23/21
                                               12/23/22 Page
                                                        Page 76
                                                             77 of
                                                                of 105
                                                                   106 PageID
                                                                       PageID #:8501
                                                                              #:16043
Case:
 Case:1:20-cv-04806
        1:20-cv-04806Document
                      Document#:#:629-4
                                   376 Filed:
                                        Filed: 08/23/21
                                               12/23/22 Page
                                                        Page 77
                                                             78 of
                                                                of 105
                                                                   106 PageID
                                                                       PageID #:8502
                                                                              #:16044
Case:
 Case:1:20-cv-04806
        1:20-cv-04806Document
                      Document#:#:629-4
                                   376 Filed:
                                        Filed: 08/23/21
                                               12/23/22 Page
                                                        Page 78
                                                             79 of
                                                                of 105
                                                                   106 PageID
                                                                       PageID #:8503
                                                                              #:16045
Case:
 Case:1:20-cv-04806
        1:20-cv-04806Document
                      Document#:#:629-4
                                   376 Filed:
                                        Filed: 08/23/21
                                               12/23/22 Page
                                                        Page 79
                                                             80 of
                                                                of 105
                                                                   106 PageID
                                                                       PageID #:8504
                                                                              #:16046




                   EXHIBIT 5
Case:
 Case:1:20-cv-04806
        1:20-cv-04806Document
                      Document#:#:629-4
                                   376 Filed:
                                        Filed: 08/23/21
                                               12/23/22 Page
                                                        Page 80
                                                             81 of
                                                                of 105
                                                                   106 PageID
                                                                       PageID #:8505
                                                                              #:16047
Case:
 Case:1:20-cv-04806
        1:20-cv-04806Document
                      Document#:#:629-4
                                   376 Filed:
                                        Filed: 08/23/21
                                               12/23/22 Page
                                                        Page 81
                                                             82 of
                                                                of 105
                                                                   106 PageID
                                                                       PageID #:8506
                                                                              #:16048
Case:
 Case:1:20-cv-04806
        1:20-cv-04806Document
                      Document#:#:629-4
                                   376 Filed:
                                        Filed: 08/23/21
                                               12/23/22 Page
                                                        Page 82
                                                             83 of
                                                                of 105
                                                                   106 PageID
                                                                       PageID #:8507
                                                                              #:16049
Case:
 Case:1:20-cv-04806
        1:20-cv-04806Document
                      Document#:#:629-4
                                   376 Filed:
                                        Filed: 08/23/21
                                               12/23/22 Page
                                                        Page 83
                                                             84 of
                                                                of 105
                                                                   106 PageID
                                                                       PageID #:8508
                                                                              #:16050
Case:
 Case:1:20-cv-04806
        1:20-cv-04806Document
                      Document#:#:629-4
                                   376 Filed:
                                        Filed: 08/23/21
                                               12/23/22 Page
                                                        Page 84
                                                             85 of
                                                                of 105
                                                                   106 PageID
                                                                       PageID #:8509
                                                                              #:16051
Case:
 Case:1:20-cv-04806
        1:20-cv-04806Document
                      Document#:#:629-4
                                   376 Filed:
                                        Filed: 08/23/21
                                               12/23/22 Page
                                                        Page 85
                                                             86 of
                                                                of 105
                                                                   106 PageID
                                                                       PageID #:8510
                                                                              #:16052
Case:
 Case:1:20-cv-04806
        1:20-cv-04806Document
                      Document#:#:629-4
                                   376 Filed:
                                        Filed: 08/23/21
                                               12/23/22 Page
                                                        Page 86
                                                             87 of
                                                                of 105
                                                                   106 PageID
                                                                       PageID #:8511
                                                                              #:16053
Case:
 Case:1:20-cv-04806
        1:20-cv-04806Document
                      Document#:#:629-4
                                   376 Filed:
                                        Filed: 08/23/21
                                               12/23/22 Page
                                                        Page 87
                                                             88 of
                                                                of 105
                                                                   106 PageID
                                                                       PageID #:8512
                                                                              #:16054
Case:
 Case:1:20-cv-04806
        1:20-cv-04806Document
                      Document#:#:629-4
                                   376 Filed:
                                        Filed: 08/23/21
                                               12/23/22 Page
                                                        Page 88
                                                             89 of
                                                                of 105
                                                                   106 PageID
                                                                       PageID #:8513
                                                                              #:16055




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Case:
 Case:1:20-cv-04806
        1:20-cv-04806Document
                      Document#:#:629-4
                                   376 Filed:
                                        Filed: 08/23/21
                                               12/23/22 Page
                                                        Page 89
                                                             90 of
                                                                of 105
                                                                   106 PageID
                                                                       PageID #:8514
                                                                              #:16056
Case:
 Case:1:20-cv-04806
        1:20-cv-04806Document
                      Document#:#:629-4
                                   376 Filed:
                                        Filed: 08/23/21
                                               12/23/22 Page
                                                        Page 90
                                                             91 of
                                                                of 105
                                                                   106 PageID
                                                                       PageID #:8515
                                                                              #:16057
Case:
 Case:1:20-cv-04806
        1:20-cv-04806Document
                      Document#:#:629-4
                                   376 Filed:
                                        Filed: 08/23/21
                                               12/23/22 Page
                                                        Page 91
                                                             92 of
                                                                of 105
                                                                   106 PageID
                                                                       PageID #:8516
                                                                              #:16058
Case:
 Case:1:20-cv-04806
        1:20-cv-04806Document
                      Document#:#:629-4
                                   376 Filed:
                                        Filed: 08/23/21
                                               12/23/22 Page
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                                                             93 of
                                                                of 105
                                                                   106 PageID
                                                                       PageID #:8517
                                                                              #:16059
Case:
 Case:1:20-cv-04806
        1:20-cv-04806Document
                      Document#:#:629-4
                                   376 Filed:
                                        Filed: 08/23/21
                                               12/23/22 Page
                                                        Page 93
                                                             94 of
                                                                of 105
                                                                   106 PageID
                                                                       PageID #:8518
                                                                              #:16060
Case:
 Case:1:20-cv-04806
        1:20-cv-04806Document
                      Document#:#:629-4
                                   376 Filed:
                                        Filed: 08/23/21
                                               12/23/22 Page
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                                                                of 105
                                                                   106 PageID
                                                                       PageID #:8519
                                                                              #:16061
Case:
 Case:1:20-cv-04806
        1:20-cv-04806Document
                      Document#:#:629-4
                                   376 Filed:
                                        Filed: 08/23/21
                                               12/23/22 Page
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                                                             96 of
                                                                of 105
                                                                   106 PageID
                                                                       PageID #:8520
                                                                              #:16062
Case:
 Case:1:20-cv-04806
        1:20-cv-04806Document
                      Document#:#:629-4
                                   376 Filed:
                                        Filed: 08/23/21
                                               12/23/22 Page
                                                        Page 96
                                                             97 of
                                                                of 105
                                                                   106 PageID
                                                                       PageID #:8521
                                                                              #:16063




                   EXHIBIT 7
Case:
 Case:1:20-cv-04806
        1:20-cv-04806Document
                      Document#:#:629-4
                                   376 Filed:
                                        Filed: 08/23/21
                                               12/23/22 Page
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 c12)   United States Design Patent c10) Patent No.:                                                                                              US D808,857 S
        Zhang et al.                                                                       (45) Date of Patent:                                   ** Jan.30,2018
 (54)    HOVERBOARD                                                                         D780,626 s *  3/2017 Li .................................... D12/1
                                                                                            D784,195 s *  4/2017 Ying ................................ D12/1
                                                                                            D784,198 s *  4/2017 Zhu . . . . . . . . . .. . . . . . . . . . . . . . . . . . . . . . . . D12/1
 (71) Applicant: Shenzhen Chitado Technology CO.,                                           D785,112 s *  4/2017 Ying ............................ 021/760
                 LTD., Shenzhen, Guangdong (CN)                                             D785,113 s *  4/2017 Ying ............................ 021/760
                                                                                            D785,736 s *  5/2017 Ying ............................ 021/760
 (72) Inventors: Dianxuan Zhang, Guangdong (CN);                                            D786,130 s *  5/2017 Huang ............................. D12/1
                 Dengjin Zhou, Guangdong (CN)                                               D786,994 s *  5/2017 Chen............................ 021/760
                                                                                            D786,995 s *  5/2017 Ying ............................ 021/760
                                                                                            9,688,340 Bl *6/2017 Kroymann.                                              B62K 13/04
 (73) Assignee: Shenzhen Chitado technology CO.,                                        2013/0238231 Al*  9/2013 Chen.                                               B62K 11/007
                LTD. (CN)                                                                                                                                                            701/124
                                                                                        2016/0129963 Al* 5/2016 Ying                                                B62D 51/001
 (**) Term:             15 Years                                                                                                                                                       180/6.5
                                                                                        2016/0325803 Al* 11/2016 Waxman.................. B62M 7/12
                                                                                        2017/0144718 Al* 5/2017 Tinaphong .                                         B62K 11/007
 (21) Appl. No.: 29/590,451                                                             2017/0240240 Al* 8/2017 Kroymann.                                               B62K 13/04
 (22) Filed:      Jan. 10, 2017                                                       * cited by examiner
 ( 51) LOC   (11) Cl.     ............................................... 12-14
                                                                                      Primary Examiner - T. Chase Nelson
 (52) U.S. Cl.
                                                                                      Assistant Examiner - Ania Aman
       USPC ............................................................. D12/1
 (58) Field of Classification Search                                                  (57)                  CLAIM
       USPC ...... D12/1, 5; D21/419, 421, 423, 426, 662,
                                                                                      The ornamental design for a hoverboard, as shown and
                     D21/760, 765, 766, 769, 771, 776, 803
                                                                                      described.
       CPC .... B62K 3/007; B62K 17/00; B62K 2202/00;
                           B62K 11/007; B62D 51/001; B62D                                                                 DESCRIPTION
                   51/02; B62D 61/00; B62D 37/00; A63C
                        17/0033; A63C 17/01; A63C 17/016;                             FIG. 1 is a front view of the hoverboard showing our new
                           A63C 2203/40; A63C 17/12; A63C                             design;
                             17/08; B60N 2/002; B60G 17/019                           FIG. 2 is a back view thereof;
       See application file for complete search history.                              FIG. 3 is a top view thereof;
                                                                                      FIG. 4 is a bottom view thereof;
 (56)                      References Cited                                           FIG. 5 is a left side view thereof;
                                                                                      FIG. 6 is a right side view thereof;
                    U.S. PATENT DOCUMENTS
                                                                                      FIG. 7 is a perspective view thereof; and,
        D737,723 S *         9/2015 Ying ................................ D12/1       FIG. 8 is another perspective view thereof.
        D738,256 S *         9/2015 Ying ................................ D12/1
        D778,782 S *         2/2017 Chen................................ D12/1                                  1 Claim, 8 Drawing Sheets
Case:
 Case:1:20-cv-04806
        1:20-cv-04806Document
                      Document#:#:629-4
                                   376 Filed:
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        1:20-cv-04806Document
                      Document#:#:629-4
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                                    FIG. 3
Case:
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        1:20-cv-04806Document
                      Document#:#:629-4
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                                        Filed: 08/23/21
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                                        FIG.4
Case:
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        1:20-cv-04806Document
                      Document#:#:629-4
                                   376 Filed:
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        1:20-cv-04806Document
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 Case:1:20-cv-04806
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                      Document#:#:629-4
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                      Document#:#:629-4
                                   376 Filed:
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